Case 4:07-cv-05944-JST Document 2553-8 Filed 04/30/14 Page 1 of 69




        ATTACHMENT 16
     Case 4:07-cv-05944-JST Document
        Case3:13-cv-01173-EDL        2553-8Filed03/15/13
                               Document1      Filed 04/30/14 Page
                                                           Page1 of 268of 69



 1   Stephen E. Taylor (SBN 058452)
     Jonathan A. Patchen (SBN 237346)
2    TAYLOR & COMPANY LAW OFFICES, LLP
     One Ferry Building, Suite 355
 3   San Francisco, California 94111
     Telephone: (415) 788-8200
4    Facsimile: (415) 788-8208
     Email: staylor@tcolaw.com
 5   Email: jpatchen@tcolaw.com
6
     Kenneth A. Gallo (pro hac vice to be submitted)
7    Joseph J. Simons (pro hac vice to be submitted)
     Craig A. Benson (pro hac vice to be submitted)
 8   PAUL, WEISS, RIFKIND, WHARTON & GARRISON LLP
     200 I K Street, NW
9    Washington, DC 20006-1 04 7
     Telephone: (202) 223-7356
10   Facsimile: (202) 204-7356
     Email: kgallo@paulweiss.com
11   Email: jsimons@paulweiss.com
     Email: cbenson@paulweiss.com
12
     Attorneys for Plaintiffs Sharp Electronics Corporation,
13   Sharp Electronics Manufacturing Company ofAmerica, Inc.

14
                                 UNITED STATES DISTRICT COURT
15
                            NORTHERN DISTRICT OF CALIFORNIA


     SHARP ELECTRONICS CORPORATION;
     SHARP ELECTRONICS MANUFACTURING .
                                                 c cl M.Q           1173
     COMPANY OF AMERICA, INC.,                          COMPLAINT

     Plaintiffs,                                        DEMAND FOR JURY TRIAL
20                          v.
21   HITACHI, LTD.; HITACHI DISPLAYS, LTD.;
     HITACHI AMERICA, LTD.; HITACHI ASIA,
22   LTD.; HITACHI ELECTRONIC DEVICES (USA),
     INC.; SHENZHEN SEG HITACHI COLOR
23   DISPLAY DEVICES, LTD.; LG ELECTRONICS,
     INC.; LG ELECTRONICS USA, INC.; LG
24   ELECTRONICS TAIWAN TAIPEI CO., LTD.; LP
     DISPLAYS INTERNATIONAL, LTD.;
25   MERIDIAN SOLAR & DISPLAY CO., LTD.;
     LG.PHILIPS DISPLAYS HOLDING B.V.;
26   LG.PHILIPS DISPLAYS INTERNATIONAL B.V.;
     PANASONIC CORPORATION; PANASONIC
27   CORPORATION OF NORTH AMERICA;
     PANASONIC CONSUMER ELECTRONICS CO.;
28   MT PICTURE DISPLAY CO., LTD.;
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     COMPLAJNT AND JURY DEMAND
     Case 4:07-cv-05944-JST Document
        Case3:13-cv-01173-EDL        2553-8Filed03/15/13
                               Document1      Filed 04/30/14 Page
                                                           Page2 of 368of 69


     MATSUSHITA ELECTRONIC CORPORATION
     (MALAYSIA) SDN BHD.; BEIJING
     MATSUSHITA COLOR CRT CO., LTD.;
 2   SAM SUNG SDI CO., LTD.; SAM SUNG SDI
     AMERICA, INC.; SAMSUNG SDI (MALAYSIA)
 3   SDN BHD.; SAMSUNG SDI MEXICO S.A. DE
     C.V.; SAMSUNG SDI BRASIL LTDA.;
4    SHENZHEN SAMSUNG SDI CO., LTD.; TIANJIN
     SAMSUNG SDI CO., LTD.; SAMSUNG SDI
 5   (HONG KONG), LTD.; TOSHIBA
     CORPORATION; PT.MT PICTURE DISPLAY
 6   INDONESIA; TOSHIBA AMERICA, INC.;
     TOSHIBA AMERICA CONSUMER PRODUCTS
 7   LLC; TOSHIBA AMERICA ELECTRONIC
     COMPONENTS, INC.; TOSHIBA AMERICA
 8   INFORMATION SYSTEMS, INC.; TOSHIBA
     DISPLAY DEVICES (THAILAND) COMPANY,
9    LTD.; THOMSON SA (NIK/A TECHNICOLOR
     SA); THOMSON CONSUMER ELECTRONICS,
10   INC. (N/K/A TECHNICOLOR USA, INC.);
     VIDEOCON INDUSTRIES, LTD.;
11   TECHNOLOGIES DISPLAYS AMERICAS LLC;
     TECHNOLOGIES DISPLAYS MEXICANA, S.A.
12   DEC.V.,
13   Defendants.
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     COMPLAINT AND JURY DEMAND
     Case 4:07-cv-05944-JST Document
        Case3:13-cv-01173-EDL        2553-8Filed03/15/13
                               Document1      Filed 04/30/14 Page
                                                           Page3 of 468of 69



 1                                                    TABLE OF CONTENTS
 2

 3   I.     INTRODUCTION ............................................................................................................... 1
4    II.    JURISDICTION AND VENUE .......................................................................................... 3
 5   III.   MULTIDISTRICT AND INTRADISTRICT ASSIGNMENT ........................................... 5
 6   IV.    PARTIES ............................................................................................................................. 6
 7          A.         Plaintiffs ................................................................................................................... 6
 8          B.         Defendants ............................................................................................................... 7
9    v.     AGENTS AND CO-CON SPIRATORS ............................................................................ 20
10   VI.    TRADE AND COMMERCE ............................................................................................ 26
11   VII.   FACTUAL ALLEGATIONS ............................................................................................ 26
12          A.         CRT Technology and Products .............................................................................. 26
13          B.         Structure of the CRT Industry ............................................................................... 27
14                     I.         Market Concentration ................................................................................ 28
15                     2.         Information Sharing ................................................................................... 28
16                     3.         Consolidation ............................................................................................. 28
17                     4.         High Costs of Entry into the Industry ........................................................ 28
18                     5.         Homogeneity ofCRTs ............................................................................... 29
19          C.         International Antitrust Investigations .................................................................... 29
20          D.         Pre-Conspiracy Market .......................................................................................... 3 3
21          E.         Defendants' and Co-conspirators' Illegal Agreements .......................................... 33
22                     1.         "Glass Meetings" ....................................................................................... 35
23                     2.         Bilateral Discussions ................................................................................. 39
24                     3.         Defendants' and Co-conspirators' Participation in Group
                                  and Bilateral Discussions ........................................................................... 40
25
            F.         The CRT Market During the Conspiracy ............................................................. .47
26
            G.         Effects of Defendants' Antitrust Violations ......................................................... .48
27
                       I.         Examples of Collusive Pricing for CRTs ................................................. .48
28

     COMPLAINT AND JURY DEMAND
     Case 4:07-cv-05944-JST Document
        Case3:13-cv-01173-EDL        2553-8Filed03/15/13
                               Document1      Filed 04/30/14 Page
                                                           Page4 of 568of 69


                          2.         Examples of Reductions in Manufacturing Capacity by
 1                                   Defendants ................................................................................................. 49
2              H.         Summary ofEffects of the Conspiracy Involving CRTs ....................................... 50

3    VIII.     PLAINTIFFS' INJURIES ......................................................... ,....................................... 50

4    IX.       TOLLING .......................................................................................................................... 51

5    X.        FRAUDULENT CONCEALMENT ........................ ,........................................................ 52

6    XL        CLAIM FOR VIOLATIONS ........................ ,................................................................... 54

7    FIRST CLAIM FOR RELIEF (VIOLATION OF SECTION 1 OF THE
           SHERMAN ACT, 15 U.S.C. § 1) ...................................................................................... 54
8
     SECOND CLAIM FOR RELIEF (VIOLATION OF THE CALIFORNIA
9         CARTWRIGHT ACT) ................................................................ ,..................................... 55

10   THIRD CLAIM FOR RELIEF (VIOLATION OF CALIFORNIA UNFAIR
          COMPETITION LAW) ..................................................................................................... 57
11
     FOURTH CLAIM FOR RELIEF (VIOLATION OF THE NEW YORK
12        DONNELLY ACT) ..................... ,..................................................................................... 58

13   FIFTH CLAIM FOR RELIEF (VIOLATION OF NEW YORK UNFAIR
           COMPETITION LA W) ..................................................................................................... 59
14
     SIXTH CLAIM FOR RELIEF (NEW JERSEY ANTITRUST ACT, N.J. STAT.§
15        56:9-1 ET SEQ.) ................................................................................................................. 60

16   SEVENTH CLAIM FOR RELIEF (VIOLATION OF TENNESSEE CODE ANN.
          §§ 47-258-101 ET SEQ.) ................................................................................................... 61
17
               DAMAGES ........................................................................................................................ 62

               PRAYER FOR RELIEF .................................................................................................... 62

               JURY TRIAL DEMANDED ............................................................................................. 64




                                                                        - 11 -
     COMPLAINT AND JURY DEMAND
     Case 4:07-cv-05944-JST Document
        Case3:13-cv-01173-EDL        2553-8Filed03/15/13
                               Document1      Filed 04/30/14 Page
                                                           Page5 of 668of 69



 1                   Plaintiffs Sharp Electronics Corporation and Sharp Electronics Manufacturing

 2   Company of America, Inc., ("Sharp" or "Plaintiffs"), bring this action for damages and

 3   injunctive relief under the antitrust laws of the United States and under the antitrust and fair

 4   competition laws of California, New York, New Jersey, and Tennessee. Sharp alleges the

 5   following based on personal knowledge, investigation by counsel, and publically available

 6   materials, including publicly available materials from In re Cathode Ray Tube (CRT) Antitrust

 7   Litigation, 3:07-cv-5944-SC (N.D. Cal.), MDL No. 1917, the U.S. Department of Justice

 8   ("DOJ") website and other publicly available information regarding related criminal proceedings

 9   by the DOJ, the findings of the Japanese Fair Trade Commission ("JFTC"), the Korean Fair

10   Trade Commission ("KFTC"), the European Commission ("EC"), and upon information and

11   belief.

12   I.        INTRODUCTION

13             1.   Sharp brings this action to recover damages on account of the antitrust injuries it

14   incurred as a result of a long-running conspiracy by suppliers of cathode ray tubes ("CRTs") to

15   coordinate and fix the prices of CRTs and exchange detailed competitive information. The

16   resulting damages include, but are not limited to, overcharges which Sharp paid, directly or

17   indirectly, as a result of purchases in the United States.

18             2.   Defendants and their co-conspirators formed an international cartel that conducted

19   a long-running conspiracy extending at a minimum from at least March 1, 1995, through at least

20   December 2007 (the "Relevant Period"). The purpose and effect of this conspiracy was to fix,

21   raise, stabilize, and maintain prices for CRTs.

22             3.   Defendants are or were among the leading manufacturers of: (a) color picture

23   tubes ("CPTs"), which are CRTs used primarily in color televisions; (b) color display tubes

24   ("COTs"), which are CRTs used primarily in color computer monitors; and (c) electronic devices

25   containing CPTs (such as televisions) or COTs (such as computer monitors). For purposes of

26   this Complaint, CPTs and COTs of all sizes will be referred to collectively as "CRTs". Also for

27   purposes of this Complaint, CRTs and/or the products containing CRTs shall be referred to

28   collectively as "CRT Products."

     COMPLAINT AND JURY DEMAND
     Case 4:07-cv-05944-JST Document
        Case3:13-cv-01173-EDL        2553-8Filed03/15/13
                               Document1      Filed 04/30/14 Page
                                                           Page6 of 768of 69



 1          4.      Defendants control, or did control, the majority of the CRT industry, a

 2   multibillion dollar market, which in 1999 alone generated over $19 billion dollars in gross

 3   revenue. During the Relevant Period, virtually every household in the United States owned at

 4   least one CRT Product.

 5          5.      In order to maintain price stability, increase profitability, and decrease the erosion

 6   of pricing in the CRT market, Defendants conspired, combined and contracted to fix, raise,

 7   maintain, and stabilize the price at which CRTs were sold in the United States.

 8          6.      With respect to CRTs, Defendants or their agents agreed, inter alia, to: (a) fix

 9   target prices and price guidelines; (b) exchange pertinent information on, inter alia, shipments,

10   prices, production, and customer demand; (c) coordinate public statements regarding available

11   capacity and supply; (d) resolve issues created by asymmetrical vertical integration among some

12   ofthe co-conspirators; (e) keep their collusive meetings secret; (f) expose cheating on the

13   agreements and discuss the reconciliation of accounts; (g) allocate market share of overall sales;

14   (h) limit competition for certain key customers; (i) allocate customers; G) allocate each

15   producer's share of certain key customers' sales; and (k) restrict output. Defendants' conspiracy

16   also included agreements on the prices at which certain Defendants would sell CRTs to their own

17   corporate subsidiaries and affiliates that manufactured finished products containing CRTs, such

18   as televisions and computer monitors. Defendants realized the importance of keeping the

19   internal pricing to their subsidiaries and affiliated original equipment manufacturers (OEMs) at a

20   high enough level to support the CRT pricing in the market to other OEMs.

21          7.      The conspiracy concerning CRTs commenced with bilateral meetings that began

22   in at least March of 1995 and continued throughout the Relevant Period. Also beginning in

23   1995, the co-conspirators began to engage in informal group meetings. By 1997, these group

24   meetings had become more formalized, as described in greater detail below. There were at least

25   500 multilateral and bilateral meetings during the Relevant Period, including hundreds of

26   multilateral meetings and hundreds of bilateral meetings. These meetings occurred in various

27   locales, including Taiwan, South Korea, Indonesia, Thailand, Singapore, Malaysia, China, the

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                                                    - 2-
     COMPLAINT AND JURY DEMAND
     Case 4:07-cv-05944-JST Document
        Case3:13-cv-01173-EDL        2553-8Filed03/15/13
                               Document1      Filed 04/30/14 Page
                                                           Page7 of 868of 69



     U.K. and elsewhere in Europe. These meetings included representatives from the highest levels

 2   of the respective companies, as well as regional managers and others.

 3          8.      During the Relevant Period, the conspiracy affected billions of dollars of

 4   commerce throughout the United States.

 5          9.      This conspiracy is being investigated by the DOJ and has been investigated by

 6   multiple foreign competition authorities, including the JFTC, KFTC, and EC. The first

 7   participant to be indicted by the DOJ was C.Y. Lin, the former Chairman and CEO ofChunghwa

 8   Picture Tubes, Ltd., who had a two-count indictment issued against him by a federal grand jury

 9   in San Francisco on February 10, 2009. Since then, five additional individuals have been

10   indicted in connection with Defendants' CRT price-fixing conspiracy.

11          10.     On March 18, 2011, the DOJ issued a press release announcing that it had reached

12   an agreement with Samsung SDI in which Samsung SDI would plead guilty and pay a $32

13   million fine for its role in a conspiracy to fix prices of CDTs. On May 12, 2011, the United

14   States and Samsung SDI entered into an amended plea agreement, where Samsung SDI pled

15   guilty to violating the Sherman Act, 15 U.S.C. § 1, from at least as early as January 1997, until at

16   least as late as March 2006.

17          11.     During the Relevant Period, Plaintiffs purchased CRT Products in the United

18   States and elsewhere directly and indirectly from Defendants and their co-conspirators, and/or

19   Defendants' and their co-conspirators' subsidiaries and affiliates, and/or any agents Defendants

20   or Defendants' subsidiaries and affiliates controlled, including but not limited to joint ventures.

21   Plaintiffs thus suffered damages as a result ofDefendants' conspiracy, and brings this action to

22   recover the overcharges paid for the CRT Products they purchased during the Relevant Period.

23   II.    JURISDICTION AND VENUE

24          12.     Plaintiffs bring this action under Section 1 of the Sherman Act, 15 U.S.C. § 1, and

25   Sections 4 and 16 of the Clayton Act, 15 U .S.C. § § 15 and 26, to obtain injunctive relief and to

26   recover damages, including treble damages, costs of suit, and reasonable attorneys' fees, arising

27   from Defendants' and their co-conspirators' violations of the Sherman Act. Jurisdiction also

28   exists under the Foreign Trade and Antitrust Improvement Act, 15 U.S.C. § 6a, because
                                                     - 3-
     COMPLAINT AND JURY DEMAND
     Case 4:07-cv-05944-JST Document
        Case3:13-cv-01173-EDL        2553-8Filed03/15/13
                               Document1      Filed 04/30/14 Page
                                                           Page8 of 968of 69



      Defendants' and their co-conspirators' conduct had a direct, substantial, and reasonably

 2   foreseeable effect on United States domestic commerce, and such effect gave rise to Sharp's

 3   claims alleged herein.

 4           13.    Plaintiffs also bring this action pursuant to Section 16750(a) of the California

 5   Business and Professions Code, for injunctive relief and treble damages that Plaintiffs sustained

 6   due to Defendants' and their co-conspirators' violation of Section 16700 et seq. ofthe California

 7   Business and Professions Code (the "Cartwright Act"). Plaintiffs' claims are also brought

 8   pursuant to Sections 17203 and 17204 of the California Business and Professions Code, to obtain

 9   restitution from and an injunction against Defendants due to their violations of Section 17200 et

10   seq. of the California Business and Professions Code (the "California Unfair Competition Act").

11           14.    Plaintiffs also bring this action pursuant to Section 340 ofthe New York General

12   Business Law, for injunctive relief and treble damages that Plaintiffs sustained due to

13   Defendants' and their co-conspirators' violation of Section 340 et seq. of the New York General

14   Business Law (the "Donnelly Act"). Plaintiffs' claims are also brought pursuant to Section 349

15   ofthe New York General Business Law, to obtain restitution from and an injunction against

16   Defendants due to their violations of Section 349 et seq. of the New York General Business Law

17   (the "New York Unfair Competition Act").

18           15.    Plaintiffs also bring this action pursuant to N.J. Stat.§ 56:9-1 et seq., for

19   injunctive relief and damages that Plaintiffs sustained due to Defendants' and their co-

20   conspirators' violation of N.J. Stat. Section 56:9-1 et seq. ("New Jersey Antitrust Act").

21           16.    Plaintiffs also bring this action pursuant to Tenn. Code. Ann.§§ 47-258-101 et

22   seq., for injunctive relief and damages that Plaintiffs sustained due to Defendants' and their co-

23   conspirators' violation ofTenn. Code. Ann.§§ 47-258-101 et seq.

24           17.    This Court has jurisdiction over Plaintiffs' claims arising under Section 1 of the

25   Sherman Act and Sections 4 and 16 of the Clayton Act pursuant to 28 U.S.C. §§ 1331, and

26   1337(a). Pursuant to 28 U.S.C. § 1367, the Court has supplemental jurisdiction over Plaintiffs'

27   state antitrust and unfair competition claims because they are so related to Plaintiffs' Sherman

28   Act and Clayton Act claims that they form part of the same case and controversy.
                                                     - 4-
     COMPLAINT AND JURY DEMAND
     CaseCase3:13-cv-01173-EDL
          4:07-cv-05944-JST Document 2553-8Filed03/15/13
                               Document1     Filed 04/30/14Page9
                                                             Pageof10
                                                                    68of 69



 1            18.      The activities of Defendants and their co-conspirators, as described herein,

 2    involved U.S. import trade or commerce and/or were within the flow of, were intended to, and

 3    did have a direct, substantial, and reasonably foreseeable effect on United States domestic and

 4    import trade or commerce. This effect gave rise to Plaintiffs' antitrust claims. During the

 5    Relevant Period, Defendants' and their co-conspirators' conspiracy affected the prices of CRT

 6    Products in the United States, and specifically the CRT Products Plaintiffs purchased in the

 7    United States.

 8            19.      This Court has jurisdiction over each Defendant named in this action under

 9    Section 12 ofthe Clayton Act, 15 U.S.C. § 22 and Cal. Civ. Code§ 410.10. Each Defendant

10    conducts substantial business in the state of California, and a number of Defendants and their co-

Il    conspirators maintain their headquarters in this District or elsewhere in California. In addition,

12    Defendants all purposefully availed themselves of the laws of the United States and California

13    insofar as they manufactured, marketed, or distributed CRT Products in the United States and

14    California, and several co-conspirators have admitted that they engaged in conduct in furtherance

15    of the conspiracy in the Northern District of California.

16           20.       Venue is proper in this judicial district pursuant to 15 U.S.C. §§ 15 and 22, and

17    28 U.S.C. § 1391 because each Defendant is either an alien corporation, transacts business in this

18    District, or is otherwise found within this District. In addition, venue is proper in this District

19    under 28 U.S.C. § 1391 because a substantial part of the events or admissions giving rise to this

20    claim occurred in this District. Defendants and their co-conspirators knew that affected CRT

21    Products would be sold and shipped into this District.

22    III.   MULTIDISTRICT AND INTRADISTRICT ASSIGNMENT

23           21.       This action concerns substantially the same defendants, co-conspirators,

24    transactions and events that are involved in Case No. 3:07-cv-5944-SC (N.D. CaL) before the

25    Honorable Samuel Conti in the San Francisco Division, insofar as it involves a suit for damages

26    and injunctive relief arising out of the conspiracy to fix the price of CRTs or restrain the output

27    ofCRTs in violation ofthe Sherman Act and state law.

28
                                                       -5-
      COMPLAINT AND JURY DEMAND
     Case 4:07-cv-05944-JST Document
        Case3:13-cv-01173-EDL        2553-8Filed03/15/13
                               Document1      Filed 04/30/14 Pageof1168of 69
                                                           Page10



 1    IV.    PARTIES

 2    A.     Plaintiffs

 3           22.     Plaintiff Sharp Electronics Corporation ("Sharp Electronics") is a New York

 4    corporation, with its principal place of business in Mahwah, New Jersey. Sharp Electronics is

 5    the wholly owned U.S. sales and marketing subsidiary of Osaka-based Sharp Corporation.

 6           23.     Sharp Manufacturing Company of America, Inc. ("SMCA") is a division of Sharp

 7    Electronics, with its principal place ofbusiness in Memphis, Tennessee.

 8           24.     Plaintiff Sharp Electronics Manufacturing Company of America, Inc. ("SEMA")

9     is a corporation organized and existing under the laws of California and has its principal place of

10    business in San Diego, California. SEMA is a wholly owned subsidiary of Sharp Electronics.

11           25.     Sharp Electronica Mexico, S.A. de C.V. ("SEMEX") is a maquiladora company

12    (manufacturing facility). SEMEX is 99% owned by SEMA, and 1% owned by Sharp

13    Electronics.

14           26.     Sharp Electronics and SEMA are sometimes referred to collectively herein as

15    "Sharp" or "Plaintiffs."

16           27.     During the Relevant Period, Sharp Electronics, directly and through its

17    subsidiaries, purchased substantial amounts of CRTs manufactured by Defendants and/or their

18    subsidiaries, their co-conspirators, and others, in the United States for incorporation into CRT

19    televisions ("CRT TVs"). As a result ofDefendants' and their co-conspirators' conspiracy,

20    Sharp Electronics was injured in its business and property because the prices it paid for such

21    CRTs and CRT Products were artificially inflated by that conspiracy.

22           28.     During the Relevant Period, SMCA purchased substantial amounts of CRTs

23    manufactured by Defendants and/or their subsidiaries, their co-conspirators, and others, in the

24    United States, for incorporation into CRT TVs. SMCA issued purchases orders from and

25    received invoices for its CRT Product purchases at its offices in Tennessee. As a result of

26    Defendants' and their co-conspirators' conspiracy, SMCA was injured in its business and

27    property because the prices it paid for such CRTs were artificially inflated by that conspiracy.

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      COMPLAINT AND JURY DEMAND
     Case 4:07-cv-05944-JST Document
        Case3:13-cv-01173-EDL        2553-8Filed03/15/13
                               Document1      Filed 04/30/14 Pageof1268of 69
                                                           Page11



              29.     During the Relevant Period, SEMA purchased and invoiced substantial amounts

 2    ofCRTs manufactured by Defendants and/or their subsidiaries, their co-conspirators, and others,

 3    in the United States that were then sent to SEMEX for assembly into CRT TVs. SEMA issued

 4    purchases orders from and received invoices for its CRT Product purchases at its offices in

 5    California. After the manufacturing process was complete, all of the finished televisions were

 6    shipped FOB back to SEMA in San Diego, California. SEMA retained ownership of the CRTs

 7    throughout the entire manufacturing process. Additionally, SEMA recognized all of the revenue

 8    from the sales of CRT TVs. As a result of Defendants' and their co-conspirators' conspiracy,

 9    SEMA was injured in its business and property because the prices it paid for such CRTs were

10    artificially inflated by that conspiracy.

11            30.     Plaintiffs also purchased, directly and/or through their subsidiaries, CRT

12    Products, including, but not limited to, from third party system integrators and OEMs, that

13    contained CRTs manufactured by Defendants and/or their subsidiaries, and/or their co-

14    conspirators, in the United States.

15            31.     During the Relevant Period, Sharp's negotiations for the purchase of CRTs took

16    place in the United States. In addition, Sharp issued purchase orders for CRTs from the United

17    States and invoices for those CRT purchases were sent to Sharp in the United States.

18    B.      Defendants
19            Hitachi Entities

20            32.     Defendant Hitachi, Ltd. is a Japanese company with its principal executive office

21    at 6-6, Marunouchi 1-chome, Chiyoda-ku, Tokyo, 100-8280, Japan. Hitachi, Ltd. is the parent

22    company for the Hitachi brand of CRT Products. In 1996, Hitachi, Ltd.'s worldwide market

23    share for color CRTs was 20 percent. During the Relevant Period, Hitachi, Ltd. manufactured,

24    marketed, sold, and/or distributed CRT Products either directly or through its subsidiaries or

25    affiliates throughout the United States.
26            33.     Defendant Hitachi Displays, Ltd. ("Hitachi Displays") (now known as Japan

27    Display East, Inc.) is a Japanese company with its principal place of business located at AKS
28    Building, 5F 6-2 Kanda Neribei-cho 3 Chiyoda-ku, Tokyo, 101-0022, Japan. Hitachi Displays,


      COMPLAINT AND JURY DEMAND
     Case 4:07-cv-05944-JST Document
        Case3:13-cv-01173-EDL        2553-8Filed03/15/13
                               Document1      Filed 04/30/14 Pageof1368of 69
                                                           Page12



      Ltd. was originally established as Mobara Works of Hitachi, Ltd. in Mobara City, Japan, in 1943.

 2    In 2002, all the departments of planning, development, design, manufacturing and sales

 3    concerned with the display business of Hitachi, Ltd. were spun off to create a separate company

 4    called Hitachi Displays. During the Relevant Period, Hitachi Displays manufactured, marketed,

 5    sold and/or distributed CRT Products either directly or through its subsidiaries or affiliates

 6    throughout the United States. Defendant Hitachi, Ltd. dominated and/or controlled the finances,

 7    policies and/or affairs of Hitachi Displays relating to the antitrust violations alleged in this
 8    Complaint.

 9           34.     Defendant Hitachi America, Ltd. ("Hitachi America") is a New York company

10    with its principal place of business at 50 Prospect Avenue, Tarrytown, New York. Hitachi

11    America is a wholly owned and controlled subsidiary of Defendant Hitachi, Ltd. During the

12    Relevant Period, Hitachi America manufactured, marketed, sold and/or distributed CRT

13    Products, either directly or through its subsidiaries or affiliates, throughout the United States.

14    Hitachi, Ltd. dominated and/or controlled the finances, policies and/or affairs of Hitachi America

15    relating to the antitrust violations alleged in this Complaint.

16           35.     Defendant Hitachi Asia, Ltd. ("Hitachi Asia") is a Singaporean company with its

17    principal place ofbusiness at 7 Tampines Grandes, #08-01 Hitachi Square, Singapore 528736.

18    Hitachi Asia is a wholly owned and controlled subsidiary of Hitachi, Ltd. During the Relevant

19    Period, Hitachi Asia manufactured, marketed, sold, and/or distributed CRT Products either

20    directly or through its subsidiaries or affiliates throughout the United States. Hitachi, Ltd.

21    dominated and/or controlled the finances, policies and/or affairs of Hitachi Asia relating to the

22    antitrust violations alleged in this Complaint.

23           36.     Defendant Hitachi Electronic Devices (USA), Inc. ("HEDUS") is a Delaware

24    corporation with its principal place of business at 208 Fairforest Way, Greenville, South Carolina

25    29607. HEDUS is a subsidiary of Defendant Hitachi, Ltd and Hitachi Displays. During the

26    Relevant Period, HEDUS manufactured, marketed, sold, and/or distributed CRT Products either

27    directly or through its subsidiaries or affiliates throughout the United States. Hitachi, Ltd.

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                                                        - 8-
      COMPLAINT AND JURY DEMAND
     Case 4:07-cv-05944-JST Document
        Case3:13-cv-01173-EDL        2553-8Filed03/15/13
                               Document1      Filed 04/30/14 Pageof1468of 69
                                                           Page13



      dominated and/or controlled the finances, policies and/or affairs of HEDUS relating to the

 2    antitrust violations alleged in this Complaint.

 3           37.     Defendant Shenzhen SEG Hitachi Color Display Devices, Ltd. ("Hitachi

 4    Shenzhen") was a Chinese company with its principal place of business located at 5001

 5    Huanggang Road, Futian District, Shenzhen 518035, China. Hitachi Displays, Ltd. owned at

 6    least a 25% interest in Hitachi Shenzhen until November 8, 2007 (around the time that the

 7    government investigations into the CRT industry began). Thus, Hitachi Shenzhen was a member

 8    of the Hitachi corporate group for all but the last few weeks of the Relevant Period. During the

 9    Relevant Period, Hitachi Shenzhen manufactured, marketed, sold, and/or distributed CRT

10    Products either directly or through its subsidiaries or affiliates throughout the United States.

11    Hitachi, Ltd. and Hitachi Displays dominated and/or controlled the finances, policies and/or

12    affairs of Hitachi Shenzhen relating to the antitrust violations alleged in this Complaint.

13           38.     Defendants Hitachi Ltd., Hitachi Displays, Hitachi America, Hitachi Asia, Hitachi

14    Shenzhen and HEDUS are collectively referred to herein as "Hitachi."

15           LG Electronics Entities

16           39.     Defendant LG Electronics, Inc. ("LGEI") is a corporation organized under the

17    laws of the Republic of Korea with its principal place of business located at LG Twin Towers 20,

18    Yeouido-dong, Yeongdeungpo-gu, Seoul 150-721, South Korea. LG is a $48.97 billion global

19    force in consumer electronics, home appliances, and mobile communications. It established its

20    first overseas branch office in New York in 1968. The company's name was changed from Gold

21    Star Communications to LGEI in 1995. In 2001, LGEI entered into a 50/50 joint venture with

22    Koninklijke Philips Electronics N.V. called LG.Philips Displays ("LGPD"), in which the entities

23    combined their CRT businesses. On April 1, 2007, LGPD became an independent company and

24    changed its name to LP Displays International, Ltd. During the Relevant Period, LGEI

25    manufactured, marketed, sold, and/or distributed CRT Products either directly or through its

26    subsidiaries or affiliates throughout the United States.

27           40.     Defendant LG Electronics USA, Inc. ("LGEUSA") is a Delaware corporation

28    with its principal place ofbusiness at 1000 Sylvan Ave., Englewood Cliffs, New Jersey 07632.
                                                        - 9-
      COMPLAINT AND JURY DEMAND
     Case 4:07-cv-05944-JST Document
        Case3:13-cv-01173-EDL        2553-8Filed03/15/13
                               Document1      Filed 04/30/14 Pageof1568of 69
                                                           Page14



      LGEUSA is a wholly owned and controlled subsidiary of Defendant LGEI. During the Relevant

 2    Period, LGEUSA manufactured, marketed, sold, and/or distributed CRT Products either directly

 3    or through its subsidiaries or affiliates throughout the United States. Defendant LGEI dominated

 4    and/or controlled the finances, policies and/or affairs of LGEUSA relating to the antitrust
 5    violations alleged in this Complaint.

 6            41.     Defendant LG Electronics Taiwan Taipei Co., Ltd. ("LGETT") is a Taiwanese

 7    entity with its principal place of business located at 7F, No. 47, Lane 3, Chi Hu Road, NeiHu

 8    District, Taipei City, Taiwan. LGETT is a wholly owned and controlled subsidiary ofLGEL

 9    During the Relevant Period, LGETT manufactured, marketed, sold, and/or distributed CRT

10    Products either directly or through its subsidiaries or affiliates throughout the United States.

II    Defendant LGEI dominated and/or controlled the finances, policies, and/or affairs of LGETT

12    relating to the antitrust violations alleged in this Complaint.

13           42.     Defendants LGEI, LGEUSA, and LGETT are referred to collectively herein as

14    "LG Electronics."

15           LP Displays

16           43.     Defendant LP Displays International, Ltd. ("LP Displays International") is a Hong

17    Kong company located at 6th Floor, lNG Tower, 308 Des Voeux Road Central, Sheung Wan,

18    Hong Kong. LP Displays International is the successor entity to LGPD, which was created in

19    2001 as a 50/50 joint venture between LGEI and Royal Philips. In March 2007, LP Displays

20    International became an independent company. LP Displays International is a leading supplier

21    ofCRTs for use in television sets and computer monitors. LP Displays International announced

22    in March 2007 that Royal Philips and LGEI would cede control over the company, and the

23    shares would be owned by financial institutions and private equity firms. Prior to March 2007,

24    LGEI and/or Royal Philips dominated and/or controlled the finances, policies, and/or affairs of

25    LP Displays International relating to the antitrust violations alleged in this Complaint. During

26    the Relevant Period, LP Displays International manufactured, marketed, sold, and/or distributed

27    CRT Products either directly or through its subsidiaries or affiliates throughout the United States.

28
                                                      - 10-
      COMPLAINT AND JURY DEMAND
     Case 4:07-cv-05944-JST Document
        Case3:13-cv-01173-EDL        2553-8Filed03/15/13
                               Document1      Filed 04/30/14 Pageof1668of 69
                                                           Page15



 1            44.     Defendant LG.Philips Displays Holding B.V. is a Dutch company located at

 2    Zwaanstraat 2A, Eindhoven, 5651 CA, the Netherlands. Prior to undergoing bankruptcy

 3    proceedings, LGEI and Philips had consolidated their global CRT businesses in LG.Philips

 4    Displays Holding, with LP Displays International managing the activities of the LPD Group

 5    worldwide.

 6            45.    Defendant LG.Philips Displays International B.V. is a Dutch company located at

 7    Postbus 3, 5600 AA Eindhoven, the Netherlands, registered with the Chamber of Commerce

 8    under number 34154.55. During the LPD Group's bankruptcy proceedings, the viable LPD

 9    businesses were transferred to LG.Philips Displays International B.V., including LP Displays

10    International, Ltd.

11           46.     Defendant Meridian Solar & Display Co., Ltd. ("Meridian"), is a Korean

12    company located at 184 Gongdan-Dong Kumi Ksb, South Korea. As described in the JFTC's

13    October 2009 Announcement regarding the CRT cartel, LG Philips Display Korea, Co. (LPD

14    Korea) transferred its business of manufacturing and selling cathode ray tubes for televisions to

15    Meridian Solar & Display Co., Ltd. on July 21, 2009.

16           47.     Defendants LP Displays International, LG.Philips Displays Holding B.V.,

17    LG.Philips Displays International B.V., and Meridian are referred to collectively herein as "LP

18    Displays."
19           Panasonic Entities

20           48.     Defendant Panasonic Corporation, which at all times during the Relevant Period

21    was known as Matsushita Electric Industrial Co., Ltd. (referred to hereafter as either Panasonic

22    or MEl) and only became Panasonic Corporation on October 1, 2008, is a Japanese entity located

23    at 1006, Oaza Kadoma, Kadoma-shi, Osaka 571-8501, Japan. The entity known as MEl

24    operated under that name until October 1, 2008 when it changed its name to Panasonic

25    Corporation. During the Relevant Period, MEl manufactured, marketed, sold and/or distributed

26    CRT Products either directly or through its subsidiaries or affiliates throughout the United States.

27           49.     Defendant Panasonic Corporation of North America ("PCNA") is a Delaware

28    corporation with its principal place of business at One Panasonic Way, Secaucus, New Jersey
                                                    - 11 -
      COMPLAINT AND JURY DEMAND
     Case 4:07-cv-05944-JST Document
        Case3:13-cv-01173-EDL        2553-8Filed03/15/13
                               Document1      Filed 04/30/14 Pageof1768of 69
                                                           Page16



      07094. PCNA is a wholly owned and controlled subsidiary of Defendant Panasonic Corporation.

 2    During the Relevant Period, PCNA manufactured, marketed, sold and/or distributed CRT

 3    Products either directly or through its subsidiaries or affiliates, throughout the United States.

 4    Panasonic Corporation dominated and/or controlled the finances, policies, and/or affairs of

 5    PCNA relating to the antitrust violations alleged in this Complaint.

 6            50.    Defendant Panasonic Consumer Electronics Co. ("P ACEC") is a Delaware

 7    corporation with its principal place of business at One Panasonic Way, Secaucus, New Jersey

 8    07094. PACEC is a subsidiary of Defendant PCNA. During the Relevant Period, PACEC

 9    manufactured, marketed, sold and/or distributed CRT Products either directly or through its

10    subsidiaries or affiliates throughout the United States. Panasonic Corporation dominated and/or

11    controlled the finances, policies, and/or affairs of PACEC relating to the antitrust violations

12    alleged in this Complaint.

13           51.     Defendant MT Picture Display Co., Ltd., f/k/a Matsushita Toshiba Picture

14    Display Co., Ltd., f/k/a Matsushita Toshiba Picture Display Co., Ltd. ("MTPD") is a Japanese

15    entity located at 1-15 Matsuo-Cho, Kadoma-shi, Osaka, 571-8504, Japan. In 2002, Panasonic

16    entered into a joint venture with Defendant Toshiba Corporation called Matsushita Toshiba

17    Picture Display Co., Ltd. to manufacture CRTs. Panasonic Corporation was the majority owner

18    with a 64.5 percent interest. On April 3, 2007, MEI purchased the remaining 35.5 percent stake

19    in the joint venture, making it a wholly owned subsidiary of Panasonic Corporation, and

20    renaming it MT Picture Display Co., Ltd. During the Relevant Period, MTPD manufactured,

21    marketed, sold and/or distributed CRT Products, either directly or through its subsidiaries or

22    affiliates, throughout the United States. Panasonic Corporation dominated and/or controlled the

23    finances, policies, and/or affairs of MTPD relating to the antitrust violations alleged in this

24    Complaint.

25           52.     Defendant Matsushita Electronic Corporation (Malaysia) Sdn Bhd. ("Matsushita

26    Malaysia") was a Malaysian entity located at Lot 1, Persiaran Tengku Ampuan Section 21, Shah

27    Alam Industrial Site, Shah Alam Malaysia 40000. Matsushita Malaysia was a wholly owned and

28    controlled subsidiary of Panasonic Corporation, which then transferred it to MT Picture Display
                                                     - 12-
      COMPLAINT AND JuRY DEMAND
     Case 4:07-cv-05944-JST Document
        Case3:13-cv-01173-EDL        2553-8Filed03/15/13
                               Document1      Filed 04/30/14 Pageof1868of 69
                                                           Page17



 1    Co. in 2003. It was renamed MT Picture Display (Malaysia) Sdn. Bhd. and operated as a wholly

 2    owned subsidiary of MTPD until its closure in 2006. During the Relevant Period, Matsushita

 3    Malaysia manufactured, marketed, sold and/or distributed CRTs manufactured by MEl either

 4    directly or through its subsidiaries or affiliates. Panasonic Corporation dominated and/or

 5    controlled the finances, policies, and/or affairs of Matsushita Malaysia relating to the antitrust
 6    violations alleged in this Complaint.

 7           53.     Defendant Beijing Matsushita Color CRT Co., Ltd. ("BMCC") is a Chinese

 8    company with its principal place of business located at No.9 Jiuxianqioa N. Rd., Dashanzi

 9    Chaoyang District, Beijing, China. BMCC is a joint venture company, 50% of which is held by

10    Defendant MTPD. Formed in 1987, BMCC was Panasonic Corporation's first CRT

11    manufacturing facility in China. BMCC is the second largest producer ofCRTs for televisions in

12    China. During the Relevant Period, BMCC manufactured, marketed, sold and/or distributed

13    CRT Products, either directly or through its subsidiaries or affiliates, throughout the United

14    States. Panasonic Corporation dominated and/or controlled the finances, policies, and/or affairs

15    ofBMCC relating to the antitrust violations alleged in this Complaint.

16           54.     PT.MT Picture Display Indonesia is an Indonesian company located at Kawasan

17    EJIP Industrial Park Plot 3-G, Bekasi 17550, Desa Sukaresmi, Kecamatan Cikarang Selatan,

18    Kabupaten Bekasi, Republic oflndonesia. In December 1995, TC partnered with Orion

19    Electronic Co. and two other entities to form P.T. Tosummit Electronic Devices Indonesia

20    ("TEDI") in Indonesia. TEDI was projected to have an annual production capacity of2.3 million

21    CRTs by 1999. In 2002, TC entered into a joint venture with Defendant MEl (now Panasonic

22    Corporation) called Matsushita Toshiba Picture Display Co., Ltd., in which the entities

23    consolidated their CRT businesses. In 2003, TEDI was transferred to Defendant MTPD, TC's

24    joint venture with Panasonic Corporation, and its name was changed to PT.MT Picture Display
25    Indonesia. During the Relevant Period, PT.MT Picture Display manufactured, marketed, sold

26    and/or distributed CRT Products, either directly or through its subsidiaries or affiliates,

27    throughout the United States. Toshiba Corporation (when it was TEDI) and then Panasonic

28
                                                     - 13-
      COMPLAINT AND JURY DEMAND
     Case 4:07-cv-05944-JST Document
        Case3:13-cv-01173-EDL        2553-8Filed03/15/13
                               Document1      Filed 04/30/14 Pageof1968of 69
                                                           Page18



 1    Corporation dominated and/or controlled the finances, policies, and/or affairs ofPT.MT Picture

 2    Display relating to the antitrust violations alleged in this Complaint.

 3           55.     Defendants Panasonic Corporation (f/k/a MEl), MTPD, Matsushita Malaysia,

 4    PCNA, PACEC, PT.MT Picture Display and BMCC are collectively referred to herein as

 5    "Panasonic."

 6           Samsung Entities

 7           56.     Defendant Samsung SDI Co., Ltd. f7k/a Samsung Display Device Company

 8    ("Samsung SDI") is a South Korean company with its principal place of business at 428 5

 9    Gongse-dong, Giheung-gu Yongin 446577, South Korea. Samsung SDI is a public company.

10    Founded in 1970, Samsung SDI claims to be the world's leading company in the display and

11    energy business, with 12,000 employees and facilities in 16 countries. Samsung SDI is one of

12    the largest CRT producers in the world. Samsung SDI was the top manufacturer for CRTs in

13    2000, with a market share of approximately 20%. In 2002, Samsung SDI held a 34.3%

14    worldwide market share in the market for CRTs; more than any other producer. Samsung SDI

15    has offices in Chicago and San Diego. During the Relevant Period, Samsung SDI manufactured,

16    marketed, sold, and/or distributed CRT Products either directly or through its subsidiaries or

17    affiliates throughout the United States.

18           57.     Defendant Samsung SDI America, Inc. ("Samsung SDI America") is a California

19    corporation with its principal place of business at 85 West Tasman Dr., San Jose, California.

20    Samsung America is subsidiary of Defendant Samsung SDI. During the Relevant Period,

21    Samsung SDI America manufactured, marketed, sold, and/or distributed CRT Products either

22    directly or through its subsidiaries or affiliates throughout the United States. Defendant

23    Samsung SDI dominated and/or controlled the finances, policies, and/or affairs of Samsung SDI

24    America relating to the antitrust violations alleged in this Complaint.

25           58.     Defendant Samsung SDI (Malaysia) Sdn Bhd. ("Samsung SDI Malaysia") is a

26    Malaysian corporation with its principal place of business at Lots 635 & 660, Kawasan

27    Perindustrian, Tuanku Jafaar, 71450 Sungai Gadut, Negeri Sembilan Darul Khusus, Malaysia.

28    Samsung SDI Malaysia is a subsidiary of Samsung SDI. During the Relevant Period, Samsung
                                                     - 14-
      COMPLAINT AND JURY DEMAND
     Case 4:07-cv-05944-JST Document
        Case3:13-cv-01173-EDL        2553-8Filed03/15/13
                               Document1      Filed 04/30/14 Pageof2068of 69
                                                           Page19



 1    SDI Malaysia manufactured, marketed, sold, and/or distributed CRT Products either directly or

 2    through its subsidiaries or affiliates throughout the United States. Defendant Samsung SDI

 3    dominated and/or controlled the finances, policies, and/or affairs of Samsung SDI Malaysia

 4    relating to the antitrust violations alleged in this Complaint.

 5            59.    Defendant Samsung SDI Mexico S.A. de C.V. ("Samsung SDI Mexico") is a

 6    Mexican company with its principal place of business located at Blvd. Los Olivos, No. 21014,

 7    Parque Industrial El Florida, Tijuana, B.C. Mexico. Samsung SDI Mexico is a subsidiary of

 8    Defendant Samsung SOL During the Relevant Period, Samsung SDI Mexico manufactured,

 9    marketed, sold, and/or distributed CRT Products either directly or through its subsidiaries or

10    affiliates throughout the United States. Defendant Samsung SDI dominated and/or controlled the

11    finances, policies, and/or affairs of Samsung SDI Mexico relating to the antitrust violations

12    alleged in this Complaint.

13           60.     Defendant Samsung SDI Brasil Ltda. ("Samsung SDI Brazil") is a Brazilian

14    company with its principal place ofbusiness located at Av. Eixo Norte Sui, SIN, Distrito

15    Industrial, 69088-480 Manaus, Amazonas, Brazil. Samsung SDI Brazil is a subsidiary of

16    Defendant Samsung SOL During the Relevant Period, Samsung SDI Brazil manufactured,

17    marketed, sold, and/or distributed CRT Products either directly or through its subsidiaries or

18    affiliates throughout the United States. Defendant Samsung SDI dominated and/or controlled the

19    finances, policies, and/or affairs of Samsung SDI Brazil relating to the antitrust violations

20    alleged in this Complaint.

21           61.     Defendant Shenzhen Samsung SDI Co., Ltd. ("Samsung SDI Shenzhen") is a

22    Chinese company with its principal place of business located at No. 5003 Huanggang Bei Lu,

23    Futian Gu, Shenzhen, China. Samsung SDI Shenzhen is a subsidiary of Defendant Samsung

24    SOL During the Relevant Period, Samsung SDI Shenzhen manufactured, marketed, sold, and/or

25    distributed CRT Products either directly or through its subsidiaries or affiliates throughout the

26    United States. Defendant Samsung SDI dominated and/or controlled the finances, policies,

27    and/or affairs of Samsung SDI Shenzhen relating to the antitrust violations alleged in this

28    Complaint.
                                                     - 15-
      COMPLAINT AND JURY DEMAND
     Case 4:07-cv-05944-JST Document
        Case3:13-cv-01173-EDL        2553-8Filed03/15/13
                               Document1      Filed 04/30/14 Pageof2168of 69
                                                           Page20



             62.     Defendant Tianjin Samsung SDI Co., Ltd. ("Samsung SDI Tianjin") is a Chinese

 2    company with its principal place of business located at Developing Zone of Yi-Xian Park,

 3    Wuqing County, Tianjin, China. Samsung SDI Tianjin is a subsidiary of Defendant Samsung

 4    SDL During the Relevant Period, Samsung SDI Tianjin manufactured, marketed, sold, and/or

 5    distributed CRT Products either directly or through its subsidiaries or affiliates throughout the

 6    United States. Defendant Samsung SDI dominated and/or controlled the finances, policies,

 7    and/or affairs of Samsung SDI Tianjin relating to the antitrust violations alleged in this

 8    Complaint.

 9           63.     Defendant Samsung SDI (Hong Kong), Ltd. ("Samsung SDI HK") is a Hong

10    Kong corporation with its principal place of business at 8/F ., Central Plaza 18 Harbour Road

11    Wanchai, Hong Kong. During the Relevant Period, Samsung SDI HK manufactured, marketed,

12    sold, and/or distributed CRT Products either directly or through its subsidiaries or affiliates

13    throughout the United States. Defendant Samsung SDI dominated and/or controlled the

14    finances, policies, and/or affairs of Samsung SDI HK relating to the antitrust violations alleged

15    in this Complaint.

16           64.     Defendants Samsung SDI, Samsung SDI America, Samsung SDI Mexico,

17    Samsung SDI Brazil, Samsung SDI Shenzhen, Samsung SDI Tianjin, Samsung SDI Malaysia,

18    and Samsung SDI HK are collectively referred to herein as "Samsung."
19           Toshiba Entities

20           65.     Defendant Toshiba Corporation ("TC") is a Japanese company with its principal

21    place ofbusiness at 1-1, Shibaura 1-chome, Minato-ku, Tokyo 105-8001, Japan. In 2001,

22    Toshiba held a 5 to 10 percent worldwide market share for CRTs used in televisions and in

23    computer monitors. In December 1995, TC partnered with Orion Electronic Co. and two other

24    entities to form P.T. Tosummit Electronic Devices Indonesia ("TEDI") in Indonesia. TEDI was

25    projected to have an annual production capacity of2.3 million CRTs by 1999. In 2002, TC
26    entered into a joint venture with Defendant MEl (now Panasonic Corporation) called Matsushita

27    Toshiba Picture Display Co., Ltd., in which the entities consolidated their CRT businesses. In
28    2003, TEDI was transferred to Defendant MTPD, TC'sjoint venture with Panasonic
                                                     - 16-
      COMPLAINT AND JURY DEMAND
     Case 4:07-cv-05944-JST Document
        Case3:13-cv-01173-EDL        2553-8Filed03/15/13
                               Document1      Filed 04/30/14 Pageof2268of 69
                                                           Page21



 1    Corporation, and its name was changed to PT.MT Picture Display Indonesia. During the

 2    Relevant Period, TC manufactured, marketed, sold, and/or distributed CRT Products either

 3    directly or through its subsidiaries or affiliates throughout the United States.

 4            66.     Defendant Toshiba America, Inc. ("Toshiba America") is a Delaware corporation

 5    with its principal place of business at 1251 Avenue of the Americas, Suite 4110, New York, New

 6    York 10020. Toshiba America is a wholly owned and controlled subsidiary of Defendant TC.

 7    During the Relevant Period, Toshiba America manufactured, marketed, sold, and/or distributed

 8    CRT Products either directly or through its subsidiaries or affiliates (such as Toshiba Hawaii,

 9    Inc.) throughout the United States. Defendant TC dominated and/or controlled the finances,

10    policies, and/or affairs of Toshiba America relating to the antitrust violations alleged in this

11    Complaint.

12           67.     Defendant Toshiba America Consumer Products LLC ("TACP") is a limited

13    liability company that is headquartered at 82 Totawa Rd., Wayne, New Jersey 07470-3114.

14    TACP is a wholly owned and controlled subsidiary of Defendant TC through Toshiba America.

15    During the Relevant Period, TACP manufactured, marketed, sold, and/or distributed CRT

16    Products either directly or through its subsidiaries or affiliates throughout the United States.

17    Defendant TC dominated and/or controlled the finances, policies, and/or affairs ofTACP relating

18    to the antitrust violations alleged in this Complaint.

19           68.     Defendant Toshiba America Electronic Components, Inc. ("TAEC") is

20    headquartered at 19900 MacArthur Boulevard, Suite 400, Irvine, California 92612. TAEC is a

21    wholly owned and controlled subsidiary of Defendant TC through Toshiba America. TAEC is

22    currently the North American sales and marketing representative for MTPD. During the

23    Relevant Period, TAEC manufactured, marketed, sold, and/or distributed CRT Products either

24    directly or through its subsidiaries or affiliates throughout the United States. Defendant TC

25    dominated and/or controlled the finances, policies, and/or affairs ofTAEC relating to the

26    antitrust violations alleged in this Complaint.

27           69.     Defendant Toshiba America Information Systems, Inc. ("T AIS") is headquartered

28    at 9740 Irvine Blvd., Irvine, California 92618. T AIS is a wholly owned and controlled
                                                        - 17-
      COMPLAINT AND JuRY DEMAND
     Case 4:07-cv-05944-JST Document
        Case3:13-cv-01173-EDL        2553-8Filed03/15/13
                               Document1      Filed 04/30/14 Pageof2368of 69
                                                           Page22



 1    subsidiary of Defendant TC through Toshiba America. During the Relevant Period, T AIS

 2    manufactured, marketed, sold, and/or distributed CRT Products either directly or through its

 3    subsidiaries or affiliates throughout the United States. Defendant TC dominated and/or

 4    controlled the finances, policies, and/or affairs ofTAIS relating to the antitrust violations alleged

 5    in this Complaint.

 6            70.    Defendant Toshiba Display Devices (Thailand) Company, Ltd. ("TDDT") was a

 7    Thai company with its principal place ofbusiness located at 142 Moo 5 Bangkadi Industrial

 8    Estate, Tivanon Road, Pathurn Thani, Thailand 12000. TDDT was a wholly owned and

 9    controlled subsidiary of Defendant TC. In 2003, TDDT was transferred to Defendant MTPD,

10    TC'sjoint venture with Panasonic Corporation. It was re-named as MT Picture Display

11    (Thailand) Co., Ltd. and operated as a wholly owned and controlled subsidiary of MTPD until its

12    closure in 2007. During the Relevant Period, TDDT manufactured, marketed, sold and/or

13    distributed CRT Products either directly or through its subsidiaries or affiliates throughout the

14    United States. Defendant TC dominated and/or controlled the finances, policies, and/or affairs of

15    TDDT relating to the antitrust violations alleged in this Complaint.

16           71.     Defendants TC, Toshiba America, TDDT, TACP, T AEC, and TAIS are referred

17    to collectively as "Toshiba."

18           Thomson Entities

19           72.     Defendant Thomson SA (n/k/a Technicolor SA) ("Thomson SA") is a French

20    corporation with its principal place of business located at 1-5 Rue Jeanne d'Arc 92130 Issy-les-

21    Moulineaux, France. Thomson SA, through its wholly owned subsidiary Thomson Consumer

22    Electronics Corporation, was a major manufacturer of CRTs for the United States market, with

23    plants located in the United States, Mexico, China and Europe. Thomson SA sold its CRTs

24    internally to its television-manufacturing division, which had plants in the United States and

25    Mexico, and to other television manufacturers in the United States and elsewhere. In 2005,

26    Thomson SA sold its CRT business to Videocon Industries, Ltd. During the Relevant Period,

27    Thomson SA manufactured, marketed, sold and/or distributed CRT Products either directly or

28    through its subsidiaries or affiliates throughout the United States.
                                                     - 18-
      COMPLAINT AND JURY DEMAND
     Case 4:07-cv-05944-JST Document
        Case3:13-cv-01173-EDL        2553-8Filed03/15/13
                               Document1      Filed 04/30/14 Pageof2468of 69
                                                           Page23



 1            73.    Defendant Thomson Consumer Electronics, Inc. (n/k/a Technicolor USA, Inc.)

 2    ("Thomson Consumer Electronics") is aU .S. corporation with its principal place of business

 3    located at 10330 N Meridian St., Indianapolis, IN 46290-1024. Thomson Consumer Electronics

 4    is a wholly owned subsidiary of Thomson SA. Thomson Consumer Electronics was a major

 5    manufacturer ofCRTs for the United States market, with plants located in Scranton,

 6    Pennsylvania, Marion, Indiana and Mexicali, Mexico. The United States-based plants were

 7    closed in 2004. Thomson Consumer Electronics sold its CRTs internally to its own television-

 8    manufacturing division, which had plants in the United States and Mexico, and to other

 9    television manufacturers in the United States and elsewhere. Thomson Consumer Electronics'

10    CRT business was eventually sold to Videocon Industries, Ltd. in 2005. During the Relevant

11    Period, Thomson Consumer Electronics manufactured, marketed, sold and/or distributed CRT

12    Products either directly or through its subsidiaries or affiliates throughout the United States.

13    Defendant Thomson SA dominated and/or controlled the finances, policies, and/or affairs of

14    Thomson Consumer Electronics relating to the antitrust violations alleged in this Complaint.

15           74.     Thomson SA and Thomson Consumer Electronics are collectively referred to

16    herein as "Thomson."

17           Videocon

18           75.     Defendant Videocon Industries, Ltd. ("Videocon") is an Indian corporation with

19    its principal place of business located at Aurangabad Paithan Road 14, KM Stone, Chitegaon,

20    Aurangabad 431005, India. In 2005, Videocon acquired Thomson's CRT businesses, which

21    included manufacturing facilities in Poland, Italy, Mexico and China. Videocon acquired the

22    businesses, including Thomson Displays Americas LLC and Thomson Display Mexicana S.A. de

23    CV, through its wholly owned investment entity located in the Cayman Islands, Eagle

24    Corporation Limited. Videocon manufactured its CRTs for the United States market in

25    Thomson's former CRT plants in Mexicali, Mexico and China. During the Relevant Period,

26    Videocon manufactured, marketed, sold and/or distributed CRT Products, either directly or

27    indirectly through its subsidiaries or affiliates, to customers throughout the United States.

28
                                                     - 19-
      COMPLAINT AND JURY DEMAND
     Case 4:07-cv-05944-JST Document
        Case3:13-cv-01173-EDL        2553-8Filed03/15/13
                               Document1      Filed 04/30/14 Pageof2568of 69
                                                           Page24



             Technologies Displays

 2            76.    Defendant Technologies Displays Americas LLC (formerly Thomson Displays

 3    Americas LLC) is a Delaware limited liability company with its principal place of business

 4    located at 1778 Carr Road Ste 4B, Calexico, California 92231. Technologies Displays Americas

 5    is the parent corporation of Technologies Displays Mexicana, a Mexican corporation which

 6    during the Relevant Period manufactured CRTs and sold the CRTs to Technologies Displays

 7    Americas for sale and distribution. During the Relevant Period, Technologies Displays

 8    manufactured, marketed, sold and/or distributed CRT Products, either directly or indirectly

 9    through its subsidiaries or affiliates, to customers throughout the United States. Defendants

10    Thomson SA and then Videocon dominated and/or controlled the finances, policies, and/or

11    affairs of Technologies Displays Americas relating to the antitrust violations alleged in this

12    Complaint.

13           77.     Defendant Technologies Displays Mexicana, S.A. de C.V. (formerly Thomson

14    Displays Mexicana) is a Mexican corporation with its principal place of business located at Calz.

15    Robledo Industrial Colorad, Mexicali, B.C. 21384, Mexico. Technologies Displays Mexicana is

16    a wholly owned subsidiary of Technologies Displays Americas. During the Relevant Period,

17    Technologies Displays manufactured, marketed, sold and/or distributed CRT Products, either

18    directly or indirectly through its subsidiaries or affiliates, to customers throughout the United

19    States. Defendants Thomson SA and then Videocon dominated and/or controlled the finances,

20    policies, and/or affairs of Technologies Displays Mexicana relating to the antitrust violations

21    alleged in this Complaint.

22           78.     Technologies Displays Americas and Technologies Displays Mexicana are

23    collectively referred to herein as "Technologies Displays."

24    V.     AGENTS AND CO-CONSPIRATORS
25           79.     The acts alleged against Defendants in this Complaint were authorized, ordered,

26    or done by their officers, agents, employees, or representatives, while actively engaged in the

27    management and operation of Defendants' businesses or affairs.

28
                                                     -20-
      COMPLAINT AND JURY DEMAND
     Case 4:07-cv-05944-JST Document
        Case3:13-cv-01173-EDL        2553-8Filed03/15/13
                               Document1      Filed 04/30/14 Pageof2668of 69
                                                           Page25



 1            80.     Each of the Defendants named herein acted as the principal, agent, or joint

 2    venture of, or for, other Defendants with respect to the acts, violations, and common course of

 3    conduct alleged by Plaintiffs. Each Defendant that is a subsidiary of a foreign parent acts as the

 4    United States agent for CRT Products made by its parent company.

 5            81.     Whenever in this Complaint reference is made to any act, deed or transaction of

 6    any corporation, the allegation means that the corporation engaged in the act, deed or transaction

 7    by or through its officers, directors, agents, employees or representatives while they were

 8    actively engaged in the management, direction, control or transaction of the corporation's

 9    business or affairs.

10            82.     Defendants are also liable for acts done in furtherance of the alleged conspiracy

11    by companies they acquired through mergers and acquisitions.

12            83.    Various persons and/or firms not named as Defendants in this Complaint

13    participated as co-conspirators in the violations alleged herein and may have performed acts and

14    statements in furtherance thereof. These co-conspirators who are not named as Defendants

15    include, but are not limited to Koninklijke Philips Electronics N.V. ("Royal Philips"), Philips

16    Electronics Industries Ltd. ("PEIL"), Philips Electronics North America Corporation ("Philips

17    America"), Philips Consumer Electronics Co. ("PCEC"), Philips da Amazonia Industria

18    Electronica Ltda. ("Philips Brazil"), IRICO Group Corporation, IRICO Group Electronics Co.,

19    Ltd., IRICO Display Devices Co., Ltd., Chunghwa Picture Tubes, Ltd., Chunghwa Picture Tubes

20    (Malaysia) Sdn. Bhd., Samtel Color, Ltd., Thai CRT, Orion, Orion Engineering and Domex.

21    Plaintiffs reserve the right to name some or all of these persons as Defendants at a later date.

22           Philips Entities

23           84.     Co-conspirator Koninklijke Philips Electronics N.V., a/k/a Royal Philips

24    Electronics ("Royal Philips"), is a Dutch entity with its principal place ofbusiness at

25    Amstelplein 2, 1070 MX Amsterdam, The Netherlands. Royal Philips, founded in 1891, is one

26    of the world's largest electronics companies, with 121 ,000 employees located in over 100

27    countries. In 2000, Royal Philips was the leading global supplier of CRTs. Royal Philips

28    operated in Asia directly through divisions (such as Philips Components Asia and Philips
                                                     - 21 -
      COMPLAINT AND JURY DEMAND
     Case 4:07-cv-05944-JST Document
        Case3:13-cv-01173-EDL        2553-8Filed03/15/13
                               Document1      Filed 04/30/14 Pageof2768of 69
                                                           Page26



      BGTV) and through wholly owned and separately incorporated subsidiaries. In 2001, Royal

 2    Philips entered into a joint venture with Defendant LGEI forming Defendant LGPD, in which the

 3    entities combined their CRT businesses. LGPD operated in Asia and in Europe through its

 4    division LG.Philips Displays Europe Region. In December 2005, as a result of increased

 5    pressure on demand and prices for CRT Products, Royal Philips wrote off the remaining book

 6    value of 126 million Euros of its investment and said it would not inject further capital into the

 7    venture. On April1, 2007, LGPD became an independent company and changed its name to LP

 8    Displays International, Ltd. During the Relevant Period, Royal Philips manufactured, marketed,

 9    sold, and/or distributed CRT Products either directly or through its subsidiaries or affiliates

10    throughout the United States.

11           85.     Co-conspirator Philips Electronics Industries Ltd. ("PEIL") is a Taiwanese

12    corporation with its principal place ofbusiness at 15F, 3-1 Yuan Chu St., Nangang District,

13    Taipei 115, Taiwan. PEIL is a subsidiary of Royal Philips. During the Relevant Period, PEIL

14    manufactured, marketed, sold, and/or distributed CRT Products either directly or through its

15    subsidiaries or affiliates throughout the United States. Co-conspirator Royal Philips dominated

16    and/or controlled the finances, policies, and/or affairs ofPEIL relating to the antitrust violations

17    alleged in this Complaint.

18           86.     Co-conspirator Philips Electronics North America Corporation ("Philips

19    America") is a Delaware corporation with its principal place of business at 1251 Avenue of the

20    Americas, New York, New York, 10020. Philips America is a wholly owned and controlled

21    subsidiary of Royal Philips. During the Relevant Period, Philips America manufactured,

22    marketed, sold, and/or distributed CRT Products either directly or through its subsidiaries or

23    affiliates throughout the United States. Co-conspirator Royal Philips dominated and/or

24   controlled the finances, policies, and/or affairs of Philips America relating to the antitrust

25   violations alleged in this Complaint.

26           87.     Co-conspirator Philips Consumer Electronics Co. ("PCEC") has its principal

27    place of business at 64 Perimeter Center E, Atlanta, Georgia 30346-2295. PCEC is a subsidiary

28    of Royal Philips. During the Relevant Period, PCEC manufactured, marketed, sold, and/or
                                                     -22-
     COMPLAINT AND JURY DEMAND
     Case 4:07-cv-05944-JST Document
        Case3:13-cv-01173-EDL        2553-8Filed03/15/13
                               Document1      Filed 04/30/14 Pageof2868of 69
                                                           Page27



 1    distributed CRT Products either directly or through its subsidiaries or affiliates throughout the

 2    United States. Co-conspirator Royal Philips dominated and/or controlled the finances, policies,

 3    and/or affairs ofPCEC relating to the antitrust violations alleged in this Complaint.

 4            88.     Co-conspirator Philips da Amazonia Industria Electronica Ltda. ("Philips Brazil")

 5    is a Brazilian company with its principal place of business located at A v Torquato Tapajos 2236,

 6    1 andar (parte 1), Flores, Manaus, AM 39048-660, Brazil. Philips Brazil is a wholly owned and

 7    controlled subsidiary of Royal Philips. During the Relevant Period, Philips Brazil manufactured,

 8    marketed, sold, and/or distributed CRT Products either directly or through its subsidiaries or

 9    affiliates throughout the United States. Co-conspirator Royal Philips dominated and/or

10    controlled the finances, policies, and/or affairs of Philips Brazil relating to the antitrust violations

11    alleged in this Complaint.

12           89.     Co-conspirators Royal Philips, PEIL, PCEC, Philips America, and Philips Brazil

13    are collectively referred to herein as "Philips."

14           Chunghwa Entities

15           90.     Co-conspirator Chunghwa Picture Tubes, Ltd. ("Chunghwa PT") is a Taiwanese

16    company with its principal place of business at No. 1127, Heping Rd., Bade City, Taoyuan,

17    Taiwan. It was established in 1971 by Tatung Corporation to manufacture CRTs. In 1974,

18    Chunghwa PT's CRTs received certification by the United States, giving the company entry into

19    that market. Throughout the Relevant Period, Chunghwa PT was one ofthe major global CRT

20    manufacturers. During the Relevant Period, co-conspirator Chunghwa PT manufactured,

21    marketed, sold, and/or distributed CRT Products either directly or through its subsidiaries or

22    affiliates (such as its Fuzhou subsidiary) throughout the United States.

23           91.     Co-conspirator Chunghwa Picture Tubes (Malaysia) Sdn. Bhd. ("Chunghwa

24    Malaysia") is a Malaysian company with its principal place of business at Lot 1, Subang Hi-Tech

25    Industrial Park, Batu Tiga, 4000 Shah Alam, Selangor Darul Ehsan, Malaysia. It is a wholly

26    owned and controlled subsidiary ofChunghwa. Chunghwa Malaysia is focused on CRT

27    production, and it has established itself as one of the leading worldwide suppliers of CRTs.

28    During the Relevant Period, Chunghwa Malaysia manufactured, marketed, sold, and/or
                                                      - 23-
      COMPLAINT AND JURY DEMAND
     Case 4:07-cv-05944-JST Document
        Case3:13-cv-01173-EDL        2553-8Filed03/15/13
                               Document1      Filed 04/30/14 Pageof2968of 69
                                                           Page28



 1    distributed CRT Products either directly or through its subsidiaries or affiliates throughout the

2     United States. Co-conspirator Chunghwa PT dominated and/or controlled the finances, policies,

3     and/or affairs of Chunghwa Malaysia relating to the antitrust violations alleged in this

4     Complaint.

5            92.     Co-conspirators Chunghwa PT and Chunghwa Malaysia are collectively referred

6     to herein as "Chunghwa."

7            Irico Entities

8            93.     Co-conspirator Irico Group Corporation ("IGC") is a Chinese entity with its

9     principal place of business at No.l1 Xinxi Road, Shangdi, Haidian District. Irico Group

10    Corporation is the parent company for multiple subsidiaries engaged in the manufacture,

11    distribution, and/or sale of CRT Products. During the Relevant Period, Irico Group Corporation

12    manufactured, marketed, sold, and/or distributed CRT Products either directly or through its

13    subsidiaries or affiliates throughout the United States.

14           94.     Co-conspirator Irico Group Electronics Co., Ltd. ("IGE") is a Chinese entity

15    located at I Caihong Rd., Xianyang City, Shaanxi Province 712021. During the Relevant

16    Period, IGE manufactured, marketed, sold, and/or distributed CRT Products either directly or

17    through its subsidiaries or affiliates throughout the United States. IGC dominated and/or

18    controlled the finances, policies, and/or affairs of IGE relating to the antitrust violations alleged

19    in this Complaint.

20           95.     Co-conspirator Irico Display Devices Co., Ltd. ("IDDC") is a Chinese entity

21    located at No. 16, Fenghui South Road West, District High-tech Development Zone, Xi'an, SXI

22    710075. IDDC is a partially-owned subsidiary of IGC. In 2006, IDDC was China's top CRT

23    maker. During the Relevant Period, IDDC manufactured, marketed, distributed, and/or sold

24    CRT Products either directly or through its subsidiaries or affiliates or through other Defendants

25    and co-conspirators in the United States. IGC dominated and/or controlled the finances, policies,

26    and/or affairs of IDDC Asia relating to the antitrust violations alleged in this Complaint.

27           96.     IGC, IGE, and IDDC are collectively referred to herein as "lrico."

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      COMPLAINT AND JURY DEMAND
     Case 4:07-cv-05944-JST Document
        Case3:13-cv-01173-EDL        2553-8Filed03/15/13
                               Document1      Filed 04/30/14 Pageof3068of 69
                                                           Page29



 1            Samtel

2             97.      Co-conspirator Samtel Color, Ltd. ("Samtel") is an Indian company with its

 3    registered office at 6th Floor, 7 TDI Centre, Dist. Centre, Jasola, New Delhi- II 0025. During the

4     Relevant Period, Samtel manufactured, marketed, sold, and/or distributed CRT Products

 5    throughout the United States.

 6            Thai CRT
 7            98.      Co-conspirator Thai CRT Company, Ltd. ("Thai CRT") is a Thai company

 8    located at 1/F 26 Siam Cement Rd., Bangsue Dusit, Bangkok, Thailand. Thai CRT is a

9     subsidiary of Siam Cement Group that was established in 1986 as Thailand's first manufacturer

10    of CRTs for color televisions. During the Relevant Period, Thai CRT manufactured, marketed,

11    sold, and/or distributed CRT Products either directly or through its subsidiaries or affiliates

12    throughout the United States.

13            Orion Entities

14            99.      Co-conspirator Orion Electric Company ("Orion"), a South Korean corporation

15    that filed for bankruptcy in 2004, was a major manufacturer of CRT Products during the

16    Relevant Period. In 1995, approximately 85% of Orion's $1 billion in sales was attributed to

17    CRT Products. Orion was involved in CRT Products sales and manufacturingjoint ventures and

18    had subsidiaries all over the world, including South Africa, France, Indonesia, Mexico and the

19    United States. In December 1995, Orion partnered with Defendant Toshiba Corporation and two

20    other non-Defendant entities to form P.T. Tosummit Electronic Devices Indonesia ("TEDI") in

21    Indonesia. TEDI was projected to have an annual production capacity of2.3 million CRTs by

22    1999.

23            100.     During the Relevant Period Orion owned and/or controlled a Mexican corporation

24    that manufactured and sold CRTs to customers in the United States known as Display Orion

25    Mexicana, S.A. de C.V ., ("Domex"), located at KM. I 0.5 Carretera A San Luis Rio Colorado,

26    Corredor Industrial Palaeo, Gonzalez Ortega, Mexicali, B.C. 21397, Mexico. Orion dominated

27    and/or controlled the policies and/or affairs of Domex relating to the antitrust violations alleged

28    in this Complaint.
                                                     -25-
      COMPLAINT AND JURY DEMAND
     Case 4:07-cv-05944-JST Document
        Case3:13-cv-01173-EDL        2553-8Filed03/15/13
                               Document1      Filed 04/30/14 Pageof3168of 69
                                                           Page30



 1            101.   During the Relevant Period Orion owned and/or controlled Orion Engineering

 2    Services, Inc., ("Orion Engineering") a California corporation located at PO Box 2768, Calexico,

 3    California 92232 that sold CRT Products to customers in the United States. Orion dominated

 4    and/or controlled the policies and/or affairs of Orion Engineering relating to the antitrust

 5    violations alleged in this Complaint.

 6           102.    Orion, Orion Engineering and Domex are collectively referred to herein as

 7    "Orion."

 8    VI.    TRADE AND COMMERCE

 9           103.    During the Relevant Period, each Defendant, or one or more of its subsidiaries,

10    sold CRT Products in the United States in a continuous and uninterrupted flow of interstate

11    commerce and foreign commerce, including through and into this judicial district.

12           104.    During the Relevant Period, Defendants and their co-conspirators collectively

13    controlled a vast majority of the market for CRTs, both globally and in the United States.

14           105.    The business activities of the Defendants substantially affected interstate trade

15    and commerce in the United States, caused antitrust injury in the United States, and restrained

16    competition. The business activities of Defendants also substantially affected trade and

17    commerce in California, New Jersey, Tennessee, and New York, caused antitrust injuries in and

18    restrained competition in California, New Jersey, Tennessee, and New York.

19    VII.   FACTUAL ALLEGATIONS
20    A.     CRT Technology and Products

21           106.    A CRT has three components: (a) one or more electron guns, each ofwhich is a

22    series of metallic structures used to generate a beam of electrons; (b) a magnetic or other

23    deflection system used to aim the electron beam; and (c) a phosphor-coated glass faceplate that

24    phosphoresces when struck by an electron beam, thereby producing a viewable image. A

25    faceplate coated with one color of phosphor produces a monochromatic image, while a faceplate

26    coated with multiple colors of phosphor produces a polychromatic image. An aperture or

27    shadow mask - a thin screen of perforated metal - is welded to the faceplate panel and, to

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                                                     - 26-
      COMPLAINT AND JURY DEMAND
     Case 4:07-cv-05944-JST Document
        Case3:13-cv-01173-EDL        2553-8Filed03/15/13
                               Document1      Filed 04/30/14 Pageof3268of 69
                                                           Page31



 1    produce a color image, is coated and rinsed multiple times, leaving a surface of thousands of

 2    narrow lines of red, green, blue and black.

 3            107.    CRT technology was first developed more than a century ago. The first

 4    commercially practical CRT television was made in 1931. However, it was not until RCA

 5    Corporation introduced the product at the 1939 World's Fair that it became widely available to

 6    consumers. After that, CRTs became the heart of most display products, including televisions,

 7    computer monitors, oscilloscopes, air traffic control monitors, and A TMs.

 8            108.    The quality of a CRT itself determines the quality of the CRT display. No

 9    external control or feature can make up for a poor quality tube.

10            109.   Although there have been refinements and incremental advancements along the

11    way since then, such as the development ofthinner CRTs and CRTs with a flat screen, the CRT

12    technology used today is similar to that RCA unveiled in 1939.

13            110.   CRTs can be subdivided into CDTs and CPTs. As noted above, CPTs are used

14    primarily in televisions and related devices and CDTs are primarily used in computer monitors

15    and similar devices. The primary difference is that CDTs typically yield a higher resolution

16    image requiring more pixels than do CPTs.

17            111.   CRTs have no independent utility, and have value only as components of other

18    products, such as TVs and computer monitors. The demand for CRTs thus directly derives from

19    the demand of such products. Accordingly, the market for CRTs and the market for the products

20    into which they are placed are inextricably linked and intertwined.

21            112.   Plaintiffs and/or their affiliates have purchased CRT Products from Defendants,

22    co-conspirators, and/or their subsidiaries and affiliates.   Defendants' and their co-conspirators'

23    unlawful conspiracy inflated the prices at which Plaintiffs purchased CRT Products to

24    supracompetitive levels, and Plaintiffs have thereby been injured.

25    B.     Structure of the CRT Industry

26            113.   The CRT industry has several characteristics that facilitated a conspiracy,

27    including market concentration, ease of information sharing, the consolidation of manufacturers,

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                                                      -27-
      COMPLAINT AND JURY DEMAND
     Case 4:07-cv-05944-JST Document
        Case3:13-cv-01173-EDL        2553-8Filed03/15/13
                               Document1      Filed 04/30/14 Pageof3368of 69
                                                           Page32



      multiple interrelated business relationships, significant barriers to entry, heightened price

 2    sensitivity to supply and demand forces, and homogeneity of products.
 3            1.     Market Concentration

 4            114.   During the Relevant Period, the CRT industry was dominated by relatively few

 5    companies. In 2004, Samsung SDI, LGPD (nlk/a LP Displays), MTPD, and Chunghwa, together

 6    held a collective 78% share ofthe global CRT market. The high concentration of market share

 7    facilitates coordination because there are fewer cartel members among which to coordinate

 8    pricing or allocate markets, and it is easier to monitor the pricing and production of other cartel
 9    members.

10           2.      Information Sharing

11           115.    There were many opportunities for Defendants and their co-conspirators to

12    discuss and exchange competitive information. The ease of communication was facilitated by

13    the use of meetings, telephone calls, e-mails and instant messages. Defendants and their co-

14    conspirators took advantage of these opportunities to discuss, and agree upon, their pricing for

15    CRTs as alleged below.
16           3.      Consolidation

17           116.    The CRT industry also had significant consolidation during the Relevant Period,

18    including but not limited to: (a) the creation ofLGPD in 2001, which was a joint venture

19    involving Philips' and LG Electronics' CRT businesses; and (b) the 2002 merger ofToshiba's

20    and Panasonic's CRT businesses into MTPD.
21           4.      High Costs of Entry into the Industry

22           117.    There are significant manufacturing and technological barriers to entry into the

23    CRT industry. It would require substantial time, resources and industry knowledge to overcome
24    these barriers to entry. It is also extremely unlikely that a new producer would enter the market

25    in light of the declining demand for CRTs.
26           118.    During the Relevant Period, the costs ofthe assembly components, both as a

27    whole and individually, have been generally declining, and, in some periods, declining at a

28    substantial rate. A combination of price discussions and manipulation of the output ofCRTs
                                                     - 28-
      COMPLAINT AND JURY DEMAND
     Case 4:07-cv-05944-JST Document
        Case3:13-cv-01173-EDL        2553-8Filed03/15/13
                               Document1      Filed 04/30/14 Pageof3468of 69
                                                           Page33



 1    allowed Defendants and their co-conspirators to keep prices above where they would have been
 2    but for the conspiracy.

 3            5.       Homogeneity of CRTs

 4            119.     CRTs are commodity-like products that are manufactured in standardized sizes.
 5    One Defendant's or conspirator's CRT for a particular application, such as a particular size

 6    television set or computer monitor, is substitutable for another's. Defendants and their co-

 7    conspirators sell and Plaintiffs purchase CRTs primarily on the basis of price.

 8            120.     It is easier to form and sustain a cartel when the product in question is

 9    commodity-like because it is easier to agree on prices to charge and to monitor those prices once

10    an agreement is formed.

11    C.      International Antitrust Investigations

12            121.     In November 2007, the DOJ and others commenced an investigation into price-

13    fixing in the CRT industry. The United States investigation ofthe CRT conspiracy is being

14    conducted by the DOl's Antitrust Division's office in the Northern District of California.

15            122.     On November 8, 2007, antitrust authorities in Europe, Japan, and South Korea

16    raided the offices of manufacturers of CRTs as part of an international investigation of alleged

17    price fixing.

18            123.     On November 8, 2007, it was reported that EC officials carried out unannounced

19    raids on manufacturers ofCRTs based on suspected anticompetitive conduct. That same day, the

20    EC issued a press release stating that, "[t]he commission has reason to believe that the companies

21    concerned may have violated EU rules against price-fixing, sharing markets or exchanging

22    market information."

23            124.     On November 9, 2007, MEl (now known as Panasonic Corporation) and Samsung

24    SDI reported that they were cooperating with the JFTC, which raided the companies' CRT

25    production facilities on suspicion of anti competitive conduct.

26            125.     On that same day, a Samsung spokesperson announced that its CRT subsidiary in

27    South Korea was being investigated by the KFTC as "part of an international probe into alleged

28    price-fixing."
                                                      - 29-
      COMPLAINT AND JURY DEMAND
     Case 4:07-cv-05944-JST Document
        Case3:13-cv-01173-EDL        2553-8Filed03/15/13
                               Document1      Filed 04/30/14 Pageof3568of 69
                                                           Page34



 1            126.   On November 12, 2007, Chunghwa announced that it had received a summons

 2    from the DOJ with respect to involvement in a CRT price-fixing cartel.

 3            127.   And on November 21, 2007, Philips acknowledged that it was being investigated

 4    as well. The International Herald Tribune reported that "competition authorities in several

 5    jurisdictions had started investigations," and that Philips "would assist regulators."

 6            128.   In its 2008 Annual Report, Defendant Toshiba reported that "[t]he Group is also

 7    being investigated by the [European] Commission and/or the U.S. Department of Justice for

 8    potential violations of competition laws with respect to ... cathode ray tubes (CRT) .... "

 9           129.    On February 10, 2009, the DOJ issued a press release announcing that C.Y. Lin of

10    Chunghwa was indicted for participating in a conspiracy to fix the prices of CRTs. The DOJ's

11    announcement of the indictment explained it as follows:

12           The indictment, filed today in U.S. District Court in San Francisco, charges
             Cheng Yuan Lin, aka C.Y. Lin, a resident of Taiwan, with conspiring with others
13           to suppress and eliminate competition by fixing prices, reducing output and
             allocating market shares of color display tubes (CDTs) to be sold in the U.S. and
14           elsewhere, beginning at least as early as Jan. 28, 1997, until at least as late as
             April 7, 2003. The indictment also charges C.Y. Lin with conspiring with others
15           to suppress and eliminate competition by fixing prices for color picture tubes
             (CPTs) to be sold in the U.S. and elsewhere, beginning at least as early as
16           March 12, 1997, until at least as late as April 7, 2003.

17           CRTs consist of evacuated glass envelopes that contain an electron gun and a
             phosphorescent screen. When electrons strike the screen, light is emitted, creating
18           an image on the screen. CDTs and CPTs are each types of CRTs. CDTs are used
             in computer monitors and other specialized applications, while CPTs are used in
19           color televisions. The worldwide market for CRTs, including CPTs and CDTs, in
             1997, at the start of the conspiracies has been estimated as approximately $26
20           billion.
             "This conspiracy harmed countless Americans who purchased computers and
21           televisions using cathode ray tubes sold at fixed prices," said Scott D. Hammond,
             Acting Assistant Attorney General in charge of the Antitrust Division. "The
22           Antitrust Division will continue to prosecute individuals, wherever they are
             located and however high their position on the corporate ladder, who engage in
23           price fixing aimed at U.S. businesses and consumers."
24           According to the charges, C. Y. Lin and co-conspirators carried out the CDT
             conspiracy by, among other things:
25
                     --Attending meetings and engaging in conversations and communications
26                   in Taiwan, Korea, Malaysia, China and elsewhere to discuss the prices,
                     output and market shares of CDTs;
27
                     --Agreeing during those meetings, conversations and communications to
28                   charge prices of CDTs at certain target levels or ranges;
                                                     -30-
      COMPLAINT AND JURY DEMAND
     Case 4:07-cv-05944-JST Document
        Case3:13-cv-01173-EDL        2553-8Filed03/15/13
                               Document1      Filed 04/30/14 Pageof3668of 69
                                                           Page35


                     --Agreeing during those meetings, conversations and communications to
                     reduce output of CDTs by shutting down CDT production lines for certain
                     periods of time;
 2
                     --Agreeing during those meetings, conversations and communications to
 3                   allocate target market shares for the CDT market overall and for certain
                     CDT customers;
 4
                     --Exchanging CDT sales, production, market share and pricing
 5                   information for the purpose of implementing, monitoring and enforcing
                     adherence to the agreed-upon prices, output reduction and market share
 6                   allocation;
                     -- Implementing an auditing system that permitted co-conspirators to visit
 7                   each other's production facilities to verify that CDT production lines had
                     been shut down as agreed;
 8
                     --Authorizing and approving the participation of subordinate employees in
 9                   the conspiracy;
10                   --Issuing price quotations and reducing output in accordance with the
                     agreements reached; and
11
                     --Taking steps to conceal the conspiracy and conspiratorial contacts
12                   through various means.
             C.Y. Lin is charged with carrying out the CPT conspiracy with his co-conspirators
13           by, among other things:
14                   --Attending meetings and engaging in conversations and communications
                     in Taiwan, Korea, Malaysia, China, Thailand, Indonesia and elsewhere to
15                   discuss the prices of CPTs;
16                   --Agreeing during those meetings, conversations and communications to
                     charge prices of CPTs at certain target levels or ranges;
17
                     --Exchanging CPT pricing information for the purpose of implementing,
18                   monitoring and enforcing adherence to the agreed-upon prices;
                     --Authorizing and approving the participation of subordinate employees in
19                   the conspiracy;
20                   --Issuing price quotations in accordance with the agreements reached; and

21                   --Taking steps to conceal the conspiracy and conspiratorial contacts
                     through various means. 1
22
             130.    On August 19, 2009, the DOJ issued a press release announcing that a federal
23
      grand jury in San Francisco had returned a one-count indictment against Wu Jen Cheng alk/a
24
      Tony Cheng for his participation in a global conspiracy to fix the prices of CDTs, the type of
25
      CRT used in computer monitors. Tony Cheng was a former assistant Vice-President of Sales
26
27
28       The significance of the April 7, 2003 ending date in this indictment is that it is when C.Y.
      Lin left the employ of Chunghwa PT.
                                                   - 31 -
      COMPLAINT AND JURY DEMAND
     Case 4:07-cv-05944-JST Document
        Case3:13-cv-01173-EDL        2553-8Filed03/15/13
                               Document1      Filed 04/30/14 Pageof3768of 69
                                                           Page36



      and Marketing at Chunghwa. Mr. Cheng's indictment states that the combination and conspiracy
 2    to fix the prices of CRTs was carried out, in part, in California.

 3            131.    In November 2009, the EC confirmed that it had sent Statements of Objections to
 4    companies suspected of participation in two cartels in the CRT industry-one involving CPTs
 5    and one involving CDTs.

 6            13 2.   On March 30, 201 0, the DOJ issued a press release announcing that a federal

 7    grand jury in San Francisco had returned a one-count indictment against Cheng Cheng Yeh a/k:/a

 8    Alex Yeh for his participation in a global conspiracy to fix the prices of CDTs, the type of CRT

 9    used in computer monitors. The press release identified Yeh as a "former director of sales" at "a

10    large-Taiwan based color display tube (CDT) manufacturer." The indictment states that the

11    combination and conspiracy to fix the prices of CRTs was carried out, in part, in California.

12            133.    On November 9, 2010, the DOJ issued a press release announcing that a federal

13    grand jury in San Francisco had that same day returned a one-count indictment against Seung-

14    Kyu Lee a/Ida Simon Lee, Yeong-Ug Yang a/k:/a Albert Yang, and Jae-Sik Kim a/k:/a J.S. Kim

15    for their participation in a global conspiracy to fix the prices ofCDTs, the type of CRT used in

16    computer monitors. The press release identifies Lee, Yang, and Kim as "former executives from

17    two color display tube (CDT) manufacturing companies." The indictment states that the

18    combination and conspiracy to fix the prices ofCRTs was carried out, in part, in California.

19            134.    On March 18,2011, the DOJ issued a press release announcing that Samsung SDI

20    Company Ltd. had agreed to plead guilty and pay a $32 million criminal fine for its role in a

21    global conspiracy to fix prices, reduce output, and allocate market shares of CDTs from at least

22    as early as January 1997 until at least as late as March 2006.

23            135.    In June 2012, the EC sent a supplementary Statement of Objections to both Royal

24    Philips Electronics N.V. and LG Electronics, Inc. to hold them responsible for the conduct of

25    LPD.
26           136.     On December 5, 2012, the EC announced that it had fined seven international

27    groups of companies a total of €1 ,4 70,515,000 for participating in cartels to fix prices of CPTs

28    and/or CDTs. Fines were imposed on the following companies for price-fixing CPTs: Samsung
                                                     - 32-
      COMPLAINT AND JURY DEMAND
     Case 4:07-cv-05944-JST Document
        Case3:13-cv-01173-EDL        2553-8Filed03/15/13
                               Document1      Filed 04/30/14 Pageof3868of 69
                                                           Page37



 1   SDI, Philips, LG Electronics, Philips/LG Electronics, Thomson (now Technicolor), Panasonic,

 2   and Panasonic/Toshiba/MPTD, and Panasonic/MTPD. Fines were also imposed on the

 3   following companies for price-fixing CDTs: Samsung SDI, Philips, LG Electronics, and

 4   Philips/LG Electronics. The EC found that "between 1996 and 2006, these companies fixed

 5   prices, shared markets, allocated customers between themselves and restricted their output," and

 6   stated that "[t]he two CRT cartels are among the most organized cartels that the Commission has

 7   investigated." The EC further found that "the cartelists carried out the most harmful anti-

 S   competitive practices including price fixing, market sharing, customer allocation, capacity and

 9   output coordination and exchanges of commercial[ly] sensitive information" and that meetings

10   were held in various locations in Asia and Europe.

11   D.     Pre-Conspiracy Market

12          137.    The CRT conspiracy began in the late 1980s, as the CRT business became more

13   international and Defendants began serving customers that were also being served by other

14   international companies. During this period, the employees of Defendants would encounter

15   employees from their competitors when visiting their customers. A culture of cooperation

16   developed over the years and these Defendant employees would exchange market information on

17   production, capacity, and customers.
18          138.    In the early 1990s, representatives from Samsung, Chunghwa and others visited

19   each other's factories in Southeast Asia. During this period, these producers began to include

20   discussions about price in their meetings.

21   E.     Defendants' and Co-conspirators' Illegal Agreements
22          139.    In order to control and maintain profitability for CRTs, Defendants and their co-

23   conspirators have engaged in a contract, combination, trust or conspiracy, the effect of which has

24   been to raise, fix, maintain and/or stabilize the prices at which they sold CRTs to artificially

25   inflated levels from at least March 1, 1995 through at least December 2007.

26           140.   The CRT conspiracy was effectuated through a combination of group and

27   bilateral meetings. Bilateral contacts and communications among Defendants commenced in the

28   late 1980s to early 1990s on an ad hoc basis. Competitively sensitive information on pricing,
                                                    - 33-
     COMPLAINT AND JURY DEMAND
     Case 4:07-cv-05944-JST Document
        Case3:13-cv-01173-EDL        2553-8Filed03/15/13
                               Document1      Filed 04/30/14 Pageof3968of 69
                                                           Page38



      production capacity, product mix and customer information was exchanged. In 1995, these

 2    bilateral meetings began to increase in frequency. There were more than a dozen such meetings

 3    in 1995 and several dozen such meetings in 1996 alone. In those fonnative years, bilateral

 4    discussions were the primary method of communication and took place on an ad hoc basis.

 5    During the early to mid-1990s, representatives from Defendants LG Electronics and Samsung

 6    visited the other manufacturers, including Philips, Thai CRT, Hitachi, Toshiba and Panasonic, to

 7    discuss increasing prices for CRTs in general and for specific customers. These meetings took

 8    place in Taiwan, South Korean, Thailand, Japan, Malaysia, Indonesia and Singapore.

 9            141.   The meetings continued throughout the Relevant Period. Bilateral contacts and

10    communications were conducted in person, by telephone or by e-mail. As time went on, bilateral

11    meetings encompassed specific intercompany agreements or followed up on agreements reached

12    at group meetings. Bilateral meetings were conducted in person, by telephone or by e-mail.

13            142.   Defendants Samsung and LG Electronics, along with Chunghwa, also attended

14    several ad hoc group meetings in the early to mid-1990s. The participants at these group

15    meetings also discussed increasing prices for CRTs.

16           143.    As more manufacturers entered the conspiracy, group meetings became more

17    prevalent.

18           144.    With respect to CRTs, Defendants or their agents agreed to, inter alia: (a) fix

19    target prices and price guidelines; (b) exchange pertinent information on, inter alia, shipments,

20    prices, production, and customer demand; (c) coordinate public statements regarding available

21    capacity and supply; (d) resolve issues created by asymmetrical vertical integration among some

22    of the co-conspirators; (e) keep their collusive meetings secret; (f) expose cheating on the

23    agreements and to discuss the reconciliation of accounts; (g) allocate market share of overall

24    sales; (h) limit competition for certain key customers; (i) allocate customers; (j) allocate each

25    producer's share of certain key customers' sales; and (k) restrict output.

26           145.    The overall CRT conspiracy set and/or affected worldwide prices (including

27    prices in the United States) that Defendants charged for CRTs.

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                                                     - 34-
      COMPLAINT AND JURY DEMAND
     Case 4:07-cv-05944-JST Document
        Case3:13-cv-01173-EDL        2553-8Filed03/15/13
                               Document1      Filed 04/30/14 Pageof4068of 69
                                                           Page39



 1            146.    Agreements as to CRTs were conducted through bilateral meetings as described

 2    above, through informal multilateral meetings as described above, and through more formal

 3    "Glass Meetings."

 4           1.       "Glass Meetings"

 5           147.     Beginning in 1997, CRT makers started to meet in a more organized, systematic

 6    fashion. At some point, these meetings became known as "Glass Meetings" or "GSM."

 7           148.     The Glass Meetings conducted with respect to CRTs fell into several categories:

 8                    a.     "Top Meetings"    these meetings were held by individuals at the highest

 9    level of the Defendant companies, including CEOs, Presidents, and Vice Presidents. These

10    happened less frequently, typically on a quarterly basis, and were focused on longer term

11    agreements and dispute resolution. Because attendees at top meetings had authority as well as

12    more reliable information, these meetings resulted in agreements. Attendees at top meetings

13    were also able to resolve disputes because they were decision makers who could make

14    agreements. Top Meetings occurred in South Korea, Taiwan, and China.

15                    b.     "Management Meetings"- these meetings were held by high-level sales

16    executives and/or managers. These meetings occurred more frequently than "Top Meetings,"

17    typically on a monthly basis, and handled implementation of agreements made at "Top

18    Meetings." Management Meetings occurred in South Korea, Taiwan, China, Indonesia, Japan,

19    and Thailand.

20                    c.     "Working Level Meetings"- these meetings were attended by lower level

21    sales and marketing employees. These meetings generally occurred on a weekly or monthly

22    basis and were mostly limited to the exchange of information and discussing pricing since the

23    lower level employees did not have the authority to enter into agreements. These lower level

24    employees would then transmit the competitive information up the corporate reporting chain to

25    those individuals with pricing authority. The Working Level Meetings also tended to be more

26    regional and often took place near Defendants' factories. In other words, the Taiwanese

27    manufacturers' employees met in Taiwan, the Korean manufacturers' employees met in Korea,

28    the Chinese in China, and so on.
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      COMPLAINT AND JURY DEMAND
     Case 4:07-cv-05944-JST Document
        Case3:13-cv-01173-EDL        2553-8Filed03/15/13
                               Document1      Filed 04/30/14 Pageof4168of 69
                                                           Page40



                        d.      "Green Meetings" -these meetings occurred on golf courses. These
 2    meetings were generally attended by top and management level employees of Defendants.

 3               149.   The Chinese Glass Meetings began in 1998 and generally occurred on a monthly

 4    basis following a top or management level meeting. The China Glass Meetings had the principal

 5    purpose of reporting what had been decided at the most recent Glass Meetings to the Chinese

 6    manufacturers. Participants at the Chinese Glass Meetings included the manufacturers located in

 7    China, such as IRICO and BMCC, as well as the China-based branches of the other Defendants,

 8    including but not limited to Hitachi Shenzhen, Samsung SDI Shenzhen and Samsung SDI
 9    Tianjin.

10               150.   Glass Meetings also occurred occasionally in various European countries.

11    Attendees at these meetings included those Defendants and co-conspirators that had subsidiaries

12    and/or manufacturing facilities located in Europe, including Philips, LG Electronics, and LP
13    Displays.

14           151.       Participants would often exchange competitively sensitive information prior to a

15    Glass Meeting. This included information on inventories, production, sales and exports. For

16   some such meetings, where information could not be gathered in advance of the meeting, it was

17    brought to the meeting and shared.

18           152.       The meetings at all levels followed a fairly typical pattern. First, participants

19   exchanged competitive information such as proposed future CRT pricing, sales volume,

20   inventory levels, future production capacity, exports, customer orders, price trends and forecasts

21   of sales volumes for coming months. The participants also updated the information they had

22   provided in the previous meetings. Each of the other participants then had the opportunity to

23   challenge the presenter on the information being presented, reflecting monitoring of the

24   conspiracy.
25           153.       Each meeting had a rotating, designated "Chairman" who would write the

26   information on a white board. (However, with respect to meetings on CPT Products, one person

27   typically served as chair after 2002.) Then the meeting participants used this information to
28   discuss and agree upon what price each would charge for CRTs to be sold in the following
                                                        - 36-
     COMPLAINT AND JURY DEMAND
     Case 4:07-cv-05944-JST Document
        Case3:13-cv-01173-EDL        2553-8Filed03/15/13
                               Document1      Filed 04/30/14 Pageof4268of 69
                                                           Page41



 1    month or quarter. Participants often computed overall production for each product and compared

 2    that to estimated demand.

 3              154.    Based on this information, the meeting participants discussed and agreed upon

 4    target prices, price increases, so-called "bottom" prices and price ranges for CRTs. They also

 5    discussed and agreed upon prices of CRTs that were sold to specific customers, and agreed upon

 6    target prices to be used in negotiations with large customers. Having analyzed the supply and

 7    demand, the participants would also discuss and agree upon production cutbacks.

 8              155.    During periods of oversupply, the focus of the meeting participants turned to

 9    making controlled and coordinated price reductions. This was referred to as setting a "bottom

10    price."

11              156.    The agreements encompassed prices in United States dollars to specific third

I2    party customers, and prices reflecting inclusion of specific features in a CRT (such as certain

13    types of coating or the differing types of shadow mask).

14              157.    The agreements included not only prices charged to third party customers, but, in

15    the case of vertically integrated manufacturers who produced both CRTs and CRT Products, also

16    encompassed: (a) prices charged by the CRT manufacturing ann of each such integrated

17    company to the corporate division or subsidiary that manufactured or sold computer monitors,

18    televisions or other similar CRT Products and (b) price floors on quotations offered by the

19    competitors of the integrated company to such a division or subsidiary.

20              158.    Defendants also realized the importance of keeping the pricing to their affiliated

21    OEMs at a high enough level to support the CRT pricing in the market to other OEMs. In this

22    way, Defendants ensured that all direct purchaser OEMs paid supracompetitive prices for CRTs.

23              I 59.   The Defendants often also agreed and implemented coordinated output

24    restrictions. These output agreements began as agreements to shut down production lines for a

25    certain number of days. As time went on, they changed to agreements to shut down entire

26    production lines. To police this aspect of the conspiracy, there were in-person follow-up audits,

27    in which a designated participant would visit the facilities of another participant in order to

28    ensure that output restrictions were being implemented. Sometimes, they also discussed plans
                                                      - 37-
      COMPLAINT AND JURY DEMAND
     Case 4:07-cv-05944-JST Document
        Case3:13-cv-01173-EDL        2553-8Filed03/15/13
                               Document1      Filed 04/30/14 Pageof4368of 69
                                                           Page42



      related to future capacity expansion. Defendants based these determinations on what the market

 2 would look like, after jointly analyzing anticipated supply and demand. The analysis often
 3    included consideration of downstream prices for televisions, computer monitors, or similar

 4    products and how they would affect the price ranges being collusively set.

 5            160.   Defendants would also agree on what to say about price changes or output

 6    restrictions to their customers in order to conceal their conspiracy. Often, one participant was

 7    chosen to make the first price announcement, with the others following on an agreed-upon

 8    schedule.

 9           161.    During the course of these meetings, attending Defendants would be assigned the

10    task of contacting non-attendees in order to secure their consent to the agreements reached.

11           162.    Finally, the attending Defendants would organize the next upcoming meeting.

12           163.    Efforts were also made to monitor each Defendant's and co-conspirator's

13    adherence to these agreements in a number of ways, including seeking confirmation of pricing

14    both from customers and from employees of Defendants and their co-conspirators themselves.

15    When cheating did occur, it was addressed in at least four ways: (1) monitoring; (2) attendees at

16    the meetings challenging other attendees ifthey did not live up to an agreement; (3) threats to

17    undermine a competitor at one of its principal customers; and (4) a recognition of a mutual

18    interest in living up to the target price and living up to the agreements that had been made.

19           164.    From 2005 - 2007, the group Glass Meetings became less frequent, and bilateral

20    meetings again became more prevalent.

21           165.    In summary, the types of agreements reached at the Glass Meetings included:
                     1.    Agreements on CRT prices, including establishing target prices, "bottom"
22                         prices, price ranges and price guidelines;
23
                     11.     Placing agreed-upon price differentials on various attributes of CRTs, such
24                           as quality or certain technical specifications;

25                   111.    Agreements on pricing for intra-company CRT sales to vertically
                             integrated customers;
26
                     iv.     Agreements as to what to tell customers about the reason for a price
27                           mcrease;
28
                                                    - 38-
      COMPLAINT AND JURY DEMAND
     Case 4:07-cv-05944-JST Document
        Case3:13-cv-01173-EDL        2553-8Filed03/15/13
                               Document1      Filed 04/30/14 Pageof4468of 69
                                                           Page43


                     V.      Agreements to coordinate with CRT manufacturers and marketers that did
 1
                             not attend the group meetings and agreements with them to abide by the
 2                           agreed-upon pricing;

 3                   VI.    Agreements to exchange pertinent information regarding shipments,
                            capacity, production, prices and customers' demands;
 4
                     vn.    Agreements to coordinate uniform public statements regarding available
 5                          capacity and supply;
 6                   vm.    Agreements to allocate both overall market shares and share of a particular
                            customer's purchases;
 7

 8                   IX.    Agreements to allocate customers;

 9                   x.     Agreements regarding capacity, including agreements to restrict output
                            and to audit compliance with such agreements; and
10
                     XI.    Agreements to keep their meetings secret.
11
             2.      Bilateral Discussions
12
             166.    Throughout the Relevant Period, the Glass Meetings were supplemented by
13
      bilateral discussions between various Defendants and their co-conspirators. The bilateral
14
      discussions were more informal than the group meetings and occurred on a frequent, ad hoc
15
      basis, often between the group meetings. These discussions, usually between sales and
16
      marketing employees, took the form of in-person meetings, telephone contacts and emails.
17
             167.    During the Relevant Period, in-person bilateral meetings took place in Malaysia,
18
      Indonesia, Taiwan, China, United Kingdom, Singapore, South Korea, Japan, Thailand, Brazil,
19
      and Mexico.
20
             168.    The purpose of the bilateral discussions was to exchange information about past
21
      and future pricing, coordinate pricing with manufacturers, confirm production levels, share sales
22
      order information, and confirm pricing rumors.
23
             169.    In order to ensure the efficacy of their global conspiracy, Defendants and their co-
24
      conspirators also used bilateral meetings to coordinate pricing with CRT manufacturers in Brazil
25
      and Mexico, such as Philips Brazil, Samsung SDI Brazil, and Samsung SDI Mexico. These
26
      Brazilian and Mexican manufacturers were particularly important because they served the North
27
     American market for CRTs. In this way, Defendants and their co-conspirators ensured that
28
                                                    - 39-
     COMPLAINT AND JURY DEMAND
     Case 4:07-cv-05944-JST Document
        Case3:13-cv-01173-EDL        2553-8Filed03/15/13
                               Document1      Filed 04/30/14 Pageof4568of 69
                                                           Page44



      prices of all CRTs imported into the United States were fixed, raised, maintained and/or

 2    stabilized at supracompetitive levels. North America was the largest market for CRT televisions

 3    and computer monitors during the Relevant Period. Defendants and their co-conspirators also

 4    used bilateral discussions with each other during the price negotiations with customers to avoid

 5    being persuaded by customers to cut prices. The information gained in these communications

 6    was then shared with supervisors and taken into account in determining the price to be offered.

 7            170.    Bilateral discussions were also used to coordinate prices with CRT manufacturers

 8    that sometimes missed the group meetings, such as Toshiba, Panasonic and SamteL It was often

 9    the case that in the few days following a Top or Management Meeting, the attendees at these

10    group meetings would meet bilaterally with the other Defendant or co-conspirator manufacturers

11    for the purpose of communicating whatever CRT pricing and/or output agreements had been

12    reached during the meeting. For example, Samsung had a relationship with Hitachi and was

13    responsible for communicating CRT pricing and/or output agreements to Hitachi. LG

14    Electronics had a relationship with Toshiba and was responsible for communicating CRT pricing

15    and/or output agreements to Toshiba. And Thai CRT had a relationship with Samtel and was

16    responsible for communicating CRT pricing and/or output agreements to Samtel. Hitachi,

17    Toshiba and Samtel implemented the agreed-upon pricing and/or output agreements as conveyed

18    by Samsung, LG Electronics and Thai CRT. Other times, Hitachi and Toshiba attended the

19    Glass Meetings themselves. In this way, Hitachi, Toshiba and Samtel participated in the

20    conspiracy to fix prices of CRTs.

21           3.      Defendants' and Co-conspirators' Participation in Group and Bilateral
                     Discussions
22
              171.   When Plaintiffs refer to a corporate family or companies by a single name in their
23
      allegations of participation in the conspiracy, it is to be understood that Plaintiffs are alleging
24
      that one or more employees or agents of entities within the corporate family engaged in
25
      conspiratorial meetings on behalf of every company in that family. In fact, the individual
26
      participants in the conspiratorial meetings and discussions did not always know the corporate
27
      affiliation of their counterparts, nor did they distinguish between the entities within a corporate
28
                                                      -40-
      COMPLAINT AND JURY DEMAND
     Case 4:07-cv-05944-JST Document
        Case3:13-cv-01173-EDL        2553-8Filed03/15/13
                               Document1      Filed 04/30/14 Pageof4668of 69
                                                           Page45



      family. The individual participants entered into agreements on behalf of, and reported these

 2    meetings and discussions to, their respective corporate families. As a result, the entire corporate

 3    family was represented in meetings and discussions by their agents and was a party to the

 4    agreements reached in them. For the various meeting participants identified below, in many

 5    instances, their high-ranking executives participated in a significant number of the meetings

 6    described.

 7           172.    Between at least 1996 and 2001, Hitachi, through Hitachi Ltd., Hitachi Shenzhen,

 8    Hitachi Displays, and Hitachi Asia, participated in and/or was party to over a dozen bilateral and

 9    group meetings in which unlawful agreements as to, inter alia, price, output restrictions, and/or

10    customer and market allocation ofCRTs occurred. These included more than ten bilateral
11    meetings and more than five group meetings of the types described herein, which took place in

12    Taiwan and China. Hitachi never effectively withdrew from this conspiracy.

13           173.    Hitachi America and REDUS were represented at those meetings and were parties

14    to the agreements entered at them. Further, to the extent Hitachi America and REDUS

15    distributed CRT Products to direct purchasers, they played a significant role in the conspiracy

16    because Defendants wished to ensure that the prices for such products paid by direct purchasers

17    would not undercut the pricing agreements reached at these various meetings. Thus, Hitachi

18    America and REDUS were active, knowing participants in this conspiracy.

19           174.    Between at least 1995 and 2001, LG Electronics participated in, through LGPD,

20    LP Displays, LGEI, and LGETT, and/or was party to more than a dozen bilateral meetings and

21    more than one hundred group meetings in which unlawful agreements as to, inter alia, price,

22    output restrictions, and/or customer and market allocation of CRTs occurred. After 2001, LG

23    participated in the CRT conspiracy through its joint venture with Philips, LGPD (nlk/a LP

24    Displays). A substantial number of these meetings were attended by the highest ranking
25    executives from LG Electronics. LG Electronics never effectively withdrew from this

26    conspuacy.
27           175.    LGEUSA was represented at these meetings and/or was a party to the agreements

28    entered at them. To the extent LGEUSA sold and/or distributed CRT Products, it played a
                                                    -41 -
      COMPLAINT AND JURY DEMAND
     Case 4:07-cv-05944-JST Document
        Case3:13-cv-01173-EDL        2553-8Filed03/15/13
                               Document1      Filed 04/30/14 Pageof4768of 69
                                                           Page46



      significant role in the conspiracy because Defendants wished to ensure that the prices for such

 2    products paid by direct purchasers would not undercut the pricing agreements reached at these

 3    various meetings. Thus, LGEUSA was an active, knowing participant in this conspiracy.

 4            176.   Between at least 2001 and 2006, LP Displays (f/k/a LGPD) participated in and/or

 5    was party to at least one hundred Glass Meetings at all levels in which illegal agreements as to,

 6    inter alia, price, output restrictions, and/or customer and market allocation ofCRTs occurred. A

 7    substantial number of these meetings were attended by the highest ranking executives from LP

 8    Displays. Certain of these high level executives from LP Displays had previously attended

 9    meetings on behalf of LG Electronics and Philips. LP Displays also engaged in bilateral

10    discussions with Defendants or other co-conspirators. Through these discussions, LP Displays

11    agreed on prices and supply levels for CRTs. LP Displays never effectively withdrew from this

12    conspiracy.

13            177.   Between at least 1996 and 2003, Panasonic, directly or through Panasonic

14    Corporation, Matsushita Malaysia, PT.MT Picture Display and MTPD, participated in and/or

15    was party to several dozen bilateral and group meetings in which unlawful agreements as to,

16    inter alia, price, output restrictions, and/or customer and market allocation of CRTs occurred.

17    These included bilateral meetings and group meetings of the types described herein. These

18    meetings were attended by high level sales managers from Panasonic and MTPD. Panasonic

19    never effectively withdrew from this conspiracy.

20           178.    PCNA and PACEC were represented at those meetings and/or were parties to the

21    agreements entered at them. To the extent PCNA and PACEC distributed CRT Products to

22    direct purchasers, they played a significant role in the conspiracy because Defendants wished to

23    ensure that the prices for such products paid by direct purchasers would not undercut the pricing

24    agreements reached at these various meetings. Thus, PCNA and PACEC were active, knowing

25    participants in the alleged conspiracy.

26           179.    Between at least 2003 and 2006, MTPD participated in and/or was party to

27    multiple Glass Meetings in which unlawful agreements as to, inter alia, price, output restrictions,

28    and/or customer and market allocation ofCRTs occurred, and in fact MTPD led many of these
                                                    -42-
      COMPLAINT AND JURY DEMAND
     Case 4:07-cv-05944-JST Document
        Case3:13-cv-01173-EDL        2553-8Filed03/15/13
                               Document1      Filed 04/30/14 Pageof4868of 69
                                                           Page47



      meetings during the latter years of the conspiracy. These meetings were attended by high level

 2    sales managers from MTPD. MTPD also engaged in bilateral discussions with Defendants or

 3    other co-conspirators. Through these discussions, MTPD agreed on prices and supply levels for

 4    CRTs. MTPD never effectively withdrew from this conspiracy.

 5           180.    Between at least 1998 and 2007, BMCC participated in and/or was party to

 6    multiple Glass Meetings in which unlawful agreements as to, inter alia, price, output restrictions,

 7    and/or customer and market allocation of CRTs occurred. These meetings were attended by high

 8    level sales managers from BMCC. BMCC also engaged in multiple bilateral discussions with

 9    Defendants or other co-conspirators, particularly the other Chinese CRT manufacturers.

10    Through these discussions, BMCC agreed on prices and supply levels for CRTs. None of

11    BMCC's conspiratorial conduct in connection with CRTs was mandated by the Chinese

12    government. BMCC was acting to further its own independent private interests in participating

13    in the alleged conspiracy. BMCC never effectively withdrew from this conspiracy.

14           181.   Between at least 1996 and 2007, Philips, through Royal Philips, PEIL, LGPD,

15   and/or LP Displays, participated in and/or was party to over one hundred bilateral and group

16   meetings in which unlawful agreements as to, inter alia, price, output restrictions, and/or

17   customer and market allocation ofCRTs occurred. A substantial number ofthese meetings were

18   attended by high level executives from Philips. Philips participated through Royal Philips or its

19   subsidiaries into 2001 and participated thereafter through LGPD. Philips never effectively

20   withdrew from this conspiracy.

21           182.   Philips America, Philips Brazil, and PCEC were represented at those meetings

22   and were parties to the agreements entered at them. To the extent Philips America, Philips

23   Brazil, and PCEC distributed CRT Products to direct purchasers, they played a significant role in

24   the conspiracy because the conspirators wished to ensure that the prices for such products paid

25   by direct purchasers would not undercut the pricing agreements reached at these various

26   meetings. Thus, Philips America, Philips Brazil, and PCEC were active, knowing participants in

27   this conspiracy.

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                                                    -43-
     COMPLAINT AND JURY DEMAND
     Case 4:07-cv-05944-JST Document
        Case3:13-cv-01173-EDL        2553-8Filed03/15/13
                               Document1      Filed 04/30/14 Pageof4968of 69
                                                           Page48



 1           183.    Between at least 1995 and 2007, Samsung, through Samsung SDI, Samsung SDI

 2    Malaysia, Samsung SDI Shenzhen, Samsung SDI Tianjin, and Samsung SDI HK participated in

 3    and/or was party to hundreds of bilateral and group meetings in which unlawful agreements as

 4    to, inter alia, price, output restrictions, and/or customer and market allocation ofCRTs occurred.

 5    These included dozens of bilateral meetings and several hundred group meetings ofthe types

 6    described herein. Samsung never effectively withdrew from this conspiracy.

 7           184.    Samsung SDI America, Samsung SDI Brazil, and Samsung SDI Mexico were

 8    represented at those meetings and/or were parties to the agreements entered at them. To the

 9    extent Samsung America, Samsung SDI Brazil, and Samsung SDI Mexico distributed CRT

10    Products to direct purchasers, they played a significant role in the conspiracy because Defendants

11    wished to ensure that the prices for such products paid by direct purchasers would not undercut

12    the pricing agreements reached at these various meetings. Thus, Samsung SDI America,

13    Samsung SDI Brazil, and Samsung SDI Mexico were active, knowing participants in this

14    conspuacy.

15           185.    Between at least 1995 and 2003, Toshiba, through TC, MTPD, TDDT and TEDI,

16    participated in over 50 bilateral and group meetings in which unlawful agreements as to, inter

17    alia, price, output restrictions, and/or customer and market allocation ofCRTs occurred. These

18    meetings were attended by high level sales managers from Toshiba and MTPD. Toshiba never

19    effectively withdrew from this conspiracy.

20           186.   Toshiba America, TAIS, TACP, and TAEC were represented at those meetings

21    and/or were parties to the agreements entered at them. To the extent Toshiba America, TAIS,

22    TACP, and TAEC distributed CRT Products to direct purchasers, they played a significant role

23    in the conspiracy because Defendants wished to ensure that the prices for such products paid by

24    direct purchasers would not undercut the pricing agreements reached at these various meetings.

25    Thus, Toshiba America, TAIS, TACP, and TAEC were active, knowing participants in this

26    conspuacy.
27           187.    Between at least 1996 and 2005, Thomson participated in and/or was a party to

28    bilateral and group meetings in which unlawful agreements as to, inter alia, price, output
                                                    -44-
      COMPLAINT AND JURY DEMAND
     Case 4:07-cv-05944-JST Document
        Case3:13-cv-01173-EDL        2553-8Filed03/15/13
                               Document1      Filed 04/30/14 Pageof5068of 69
                                                           Page49



      restrictions, and/or customer and market allocation of CRTs occurred. These meetings were

 2    attended by high level sales managers from Thomson. Thomson never effectively withdrew from

 3    this conspiracy.

 4            I88.   Thomson Consumer Electronics, Technologies Displays Americas (then known as

 5    Thomson Displays Americas), and Technologies Displays Mexicana (then known as Thomson

 6    Displays Mexicana) were at those meetings and/or were parties to the agreements entered at

 7    them. To the extent Thomson Consumer Electronics, Technologies Displays Americas, and

 8    Technologies Displays Mexicana distributed CRT Products to direct purchasers, they played a

 9    significant role in the conspiracy because Defendants wished to ensure that the prices for such

I0    products paid by direct purchasers would not undercut the pricing agreements reached at these

II    various meetings. Thus, Thomson Consumer Electronics, Technologies Displays Americas, and

I2    Technologies Displays Mexicana were at those meetings and/or were parties to the agreements

13    and were active, knowing participants in this conspiracy.

I4           I89.    Upon information and belief, between 2005 and 2007, Videocon participated in

I5    several Glass Meetings and multiple bilateral meetings with its competitors. These meetings

I6    were attended by high level sales managers from Videocon. At these meetings, Videocon

I7    discussed such things as CRT prices, production, revenues, volumes, demand, inventories,

I8    estimated sales, plant shutdowns, customer allocation, and new product development, and agreed

I9    on prices and supply levels for CRT Products. Videocon never effectively withdrew from this

20    conspiracy.

2I           I90.    Technologies Displays Americas and Technologies Displays Mexicana were at

22    those meetings and/or were parties to the agreements entered at them. To the extent

23    Technologies Displays Americas and Technologies Displays Mexicana distributed CRT Products

24    to direct purchasers, they played a significant role in the conspiracy because Defendants wished

25    to ensure that the prices for such products paid by direct purchasers would not undercut the

26    pricing agreements reached at these various meetings. Thus, Technologies Displays Americas

27    and Technologies Displays Mexicana were at those meetings and/or were parties to the

28    agreements and were active, knowing participants in this conspiracy.
                                                   - 45-
      COMPLAINT AND JURY DEMAND
     Case 4:07-cv-05944-JST Document
        Case3:13-cv-01173-EDL        2553-8Filed03/15/13
                               Document1      Filed 04/30/14 Pageof5168of 69
                                                           Page50



             191.    Between at least 1996 and 2004, Orion participated in and/or was party to

 2    multiple bilateral and at least several dozen group meetings in which unlawful agreements as to,

 3    inter alia, price, output restrictions, and/or customer and market allocation of CRTs occurred.

 4    Orion never effectively withdrew from this conspiracy.

 5           192.    TEDI, Domex, and Orion Engineering were represented at those meetings and/or

 6    were parties to the agreements entered at them. To the extent TEDI, Domex, and Orion

 7    Engineering distributed CRT Products to direct purchasers, they played a significant role in the

 8    conspiracy because Defendants wished to ensure that the prices for such products paid by direct

 9    purchasers would not undercut the pricing agreements reached at these various meetings. Thus,

10    TEDI, Domex, and Orion Engineering were active, knowing participants in this conspiracy.

11           193.    Between at least 1995 and 2007, Chunghwa, through Chunghwa PT and

12    Chunghwa Malaysia, participated in and/or were parties to hundreds of bilateral and group

13    meetings in which unlawful agreements as to, inter alia, price, output restrictions, and customer

14    and/or market allocation of CRTs occurred. These included hundreds of bilateral meetings and

15    hundreds of group meetings of all the types described herein that took place in Southeast Asia,

16    China, Europe and Scotland. The representatives of Chunghwa who participated in some of

17    these meetings included its highest executives, such as the former Chairman and CEO of

18    Chunghwa PT, C.Y. Lin. Chunghwa never effectively withdrew from the conspiracy.

19           194.    Between at least 1998 and 2007, !RICO, through IGC, IGE, and IDDC,

20    participated in and/or was party to multiple bilateral meetings and at least several dozen group

21    meetings in which unlawful agreements as to inter alia, price, output restrictions, and/or

22    customer and market allocation of CRTs occurred. These meetings were attended by the highest

23    ranking executives from !RICO. !RICO engaged in multiple bilateral discussions with

24    Defendants or other co-conspirators, particularly with other Chinese manufacturers. Through

25    these discussions, !RICO agreed on prices and supply levels for CRTs. None ofiRICO's

26    conspiratorial conduct in connection with CRTs was mandated by the Chinese government.

27    !RICO was acting to further its own independent private interests in participating in the alleged

28    conspiracy. !RICO never effectively withdrew from this conspiracy.
                                                    -46-
      COMPLAINT AND JURY DEMAND
     Case 4:07-cv-05944-JST Document
        Case3:13-cv-01173-EDL        2553-8Filed03/15/13
                               Document1      Filed 04/30/14 Pageof5268of 69
                                                           Page51



              195.   Between at least 1998 and 2006, Samtel participated in and/or was party to

 2    multiple bilateral meetings in which unlawful agreements as to, inter alia, price, output

 3    restrictions, and/or customer and market allocation of CRTs occurred. These meetings occurred

 4    in Malaysia. Samtel never effectively withdrew from this conspiracy.

 5            196.   Between at least 1998 and 2006, Thai CRT participated in and/or was party to

 6    over 50 bilateral and group meetings in which unlawful agreements as to, inter alia, price, output

 7    restrictions, and customer and/or market allocation of CRTs occurred. Thai CRT never

 8    effectively withdrew from this conspiracy.

 9    F.     The CRT Market During the Conspiracy

10           197.    Until the last few years, CRTs were the dominant technology used in displays,

11    including televisions and computer monitors. During the Relevant Period, this translated into the

12    sale of millions of CRTs, generating billions of dollars in annual profits.

13           198.    The following data was reported by Stanford Resources, Inc., a market research

14    firm focused on the global electronic display industry:

15
                              Units Sold             Revenue           Average Selling
16               Year
                              (millions)       (billion US dollars)    Price Per Unit
17
                 1998             90.5                 $18.9                 $208
18
                 1999             106.3                $19.2                 $181
19
                 2000             119.0                $28.0                 $235
20

21
             199.    During the Relevant Period, North America was the largest market for CRT TVs
22
      and computer monitors. According to a report published by Fuji Chimera Research, the 1995
23
      worldwide market for CRT monitors was 57.8 million units, 28 million of which (48.5%) were
24
      consumed in North America. By 2002, North America still consumed around 35% of the
25
      world's CRT monitor supply.
26

27

28
                                                     -47-
      COMPLAINT AND JURY DEMAND
     Case 4:07-cv-05944-JST Document
        Case3:13-cv-01173-EDL        2553-8Filed03/15/13
                               Document1      Filed 04/30/14 Pageof5368of 69
                                                           Page52


      G.      Effects of Defendants' Antitrust Violations
 1
              200.      During the Relevant Period, while demand in the United States for CRTs
 2
      continued to decline, Defendants' and their co-conspirators' conspiracy was effective in
 3
      moderating the normal downward pressures on prices for CRTs caused by the entry and
 4
      popularity of the new generation CRTs and plasma display products. As Finsen Yu, President of
 5
      Skyworth Macao Commercial Offshore Co., Ltd., a television maker, was quoted in January of
 6
      2007: "[t]he CRT technology is very mature; prices and technology have become stable."
 7
             1.         Examples of Collusive Pricing for CRTs
 8
             201.       Defendants' collusion is evidenced by unusual price movements in the CRT
 9
      market. In the 1990s, industry analysts repeatedly predicted declines in consumer prices for
10
      CRTs that did not fully materialize. For example, in 1992, an analyst for Market Intelligent
11
      Research Corporation predicted that "[ e]conomies of scale, in conjunction with technological
12
      improvements and advances in manufacturing techniques, will produce a drop in the price of the
13
      average electronic display to about $50 in 1997." Despite such predictions, and the existence of
14
      economic conditions warranting a drop in prices, CRT prices nonetheless remained stable.
15
             202.       In 1996, another industry source noted that "the price of the 14" tube is at a
16
      sustainable USD50 and has been for some years .... " In reality, prices for CRTs never
17
      approached $50 in 1997, and were consistently more than double this price.
18
             203.       In early 1999, despite declining production costs and the rapid entry of flat panel
19
      display products, the price oflarge color CRTs also rose. The price increase was allegedly based
20
      on increasing global demand. In fact, this price increase was a result of the collusive conduct as
21
      herein alleged.
22
             204.       After experiencing oversupply of 17" CRTs in the second half of 1999, the
23
      average selling price of CRTs rose again in early 2000. A March 13, 2000 article in Infotech
24
      Weekly quoted an industry analyst as saying that this price increase was "unlike most other PC-
25
      related products."
26
             205.       A BNET Business Network news article from August 1998 reported that "the
27
      components (cathode ray tubes) in computer monitors have risen in price. 'Although several
28
                                                       - 48-
      COMPLAINT AND JURY DEMAND
     Case 4:07-cv-05944-JST Document
        Case3:13-cv-01173-EDL        2553-8Filed03/15/13
                               Document1      Filed 04/30/14 Pageof5468of 69
                                                           Page53



      manufacturers raised their CRT prices in the beginning of August, additional CRT price

 2    increases are expected for the beginning of October .... While computer monitor price

 3    increases may be a necessary course of action, we [CyberVision, a computer monitor

 4    manufacturer] do not foresee a drop in demand if we have to raise our prices relative to CRT

 5    price increases."'

 6           206.    A 2004 article from Techtree.com reports that various computer monitor

 7    manufacturers, including LG Electronics, Philips and Sam sung, were raising the price of their

 8    monitors in response to increases in CRT prices caused by an alleged shortage of glass shells

 9    used to manufacture the tubes. Philips is quoted as saying that, "It is expected that by the end of

10    September this year [2004] there will be [a] 20% hike in the price of our CRT monitors." In fact,

11    this price increase was a result of the collusive conduct as herein alleged.
12           2.      Examples of Reductions in Manufacturing Capacity by Defendants

13           207.    Defendants and their co-conspirators also conspired to limit production of CRTs

14    by shutting down production lines for days at a time, and closing or consolidating their

15    manufacturing facilities.

16           208.    For example, Defendants' and their co-conspirators' CRT factory utilization

17    percentage fell from 90% in the third quarter of 2000 to 62% in the first quarter of 2001. This is

18    the most dramatic example of a drop in factory utilization. There were sudden drops throughout

19    the Relevant Period but to a lesser degree. Plaintiffs are informed and believe that these sudden,

20    coordinated drops in factory utilization by Defendants and their co-conspirators were the result

21    of their agreements to decrease output in order to stabilize the prices of CRTs.

22           209.    In December of2004, MTPD closed its American subsidiary's operations in

23    Horeseheads, New York, citing price and market erosion. Panasonic announced that the closing

24    was part of the company's "global restructuring initiatives in the CRT business." The company

25    further stated that in the future, "CRTs for the North American market will be supplied by other

26    manufacturing locations in order to establish an optimum CRT manufacturing structure."

27           210.    In July of2005, LGPD ceased CRT production at its Durham, England facility,

28    citing a shift in demand from Europe to Asia.
                                                      - 49-
      COMPLAINT AND JURY DEMAND
     Case 4:07-cv-05944-JST Document
        Case3:13-cv-01173-EDL        2553-8Filed03/15/13
                               Document1      Filed 04/30/14 Pageof5568of 69
                                                           Page54



                211.   In December of2005, MTPD announced that it would close its American

 2    subsidiary's operations in Ohio, as well as operations in Germany, by early 2006. Like LG

 3    Philips, the company explained that it was shifting its CRT operations to Asian and Chinese

 4    markets.

 5              212.   In late 2005, Samsung SDI followed the lead of other manufacturers, closing its

 6    CRT factory in Germany.

 7              213.   In July of2006, Orion America shut down a CRT manufacturing plant in

 8    Princeton, Indiana. The same month, Panasonic announced it was shutting down its CRT factory

 9    in Malaysia and liquidating its joint venture with Toshiba.

10    H.        Summary of Effects of the Conspiracy Involving CRTs

11              214.   The above combination and conspiracy has had the following effects, among

12    others:

13                     a.     Price competition in the sale of CRTs by Defendants and their co-

14    conspirators has been restrained, suppressed and eliminated throughout the United States;

15                     b.     Prices for CRTs sold by Defendants has been raised, fixed, maintained and

16    stabilized at artificially high and noncompetitive levels throughout the United States; and

17                     c.     Plaintiffs are deprived of the benefit of free and open competition in the

18    purchase ofCRTs.

19                     d.     As a direct and proximate result of the unlawful conduct of Defendants

20    and their co-conspirators, Plaintiffs have been injured in their business and property in that they

21    paid more for CRTs than it otherwise would have paid in the absence ofthe unlawful conduct of

22    Defendants. Plaintiffs were also injured in that they paid more for CRT Products than they

23    otherwise would have paid in the absence of the unlawful conduct of Defendants.

24    VIII. PLAINTIFFS' INJURIES
25              215.   As direct purchasers ofCRTs, Plaintiffs have suffered a direct, substantial, and

26    reasonably foreseeable injury as a result of Defendants' and their co-conspirators' conspiracy to

27    raise, fix, stabilize or maintain CRT prices at supra-competitive levels. Defendants' and their co-

28
                                                      -50-
      COMPLAINT AND JURY DEMAND
     Case 4:07-cv-05944-JST Document
        Case3:13-cv-01173-EDL        2553-8Filed03/15/13
                               Document1      Filed 04/30/14 Pageof5668of 69
                                                           Page55



      conspirators' conspiracy artificially inflated the price of CRTs, causing Plaintiffs to pay higher

2     prices than they would have in the absence of Defendants' conspiracy.

 3           216.    Throughout the Relevant Period, Defendants and their co-conspirators controlled

4     the market for CRTs.

 5           217.    Once a CRT leaves its place of manufacture, it remains essentially unchanged as

 6    it moves through the distribution system. CRTs are identifiable, discrete physical objects that do

7     not change from or become an indistinguishable part of a CRT Product. Thus, CRTs follow a

 8    physical chain from Defendants through manufacturers of CRTs sold to Plaintiffs.

 9           218.    Plaintiffs also purchased CRT Products containing CRTs from OEMs as well as

10    others, which in tum purchased CRTs from Defendants and/or their co-conspirators.

11    Defendants' conspiracy affected and artificially inflated the price ofCRTs purchased by these

12    OEMs and others, which paid higher prices for CRTs than they would have absent the

13    conspiracy.

14           219.    Consequently, during the Relevant Period, the OEMs had no choice but to

15    purchase CRTs from Defendants and their co-conspirators and others at prices that were

16    artificially inflated, fixed and stabilized by Defendants' conspiracy.

17    IX.    TOLLING

18           220.    As discussed in paragraphs 9-10, and 121-36 above, the DOJ instituted criminal

19    proceedings and investigations against several Defendants and co-conspirators commencing on

20    at least November 2007 through the present. Plaintiffs' claims have been tolling during these

21    criminal proceedings pursuant to 15 U.S.C. § 16. Plaintiffs were also members ofthe putative

22    class actions asserted against Defendants, including but not limited to the following complaints:

23           •   Nathan Muchnick, Inc. v. Chunghwa Picture Tubes Ltd., Case No. 3:07-cv-5981
24               (N.D. Cal., filed Nov. 27, 2007).

25           •   In re: Cathode Ray Tube (CRT) Antitrust Litigation, Direct Purchaser Plaintiffs'
                 Consolidated Amended Complaint, MDL No. 1917, Lead Case No. 3:07-cv-5944
26               (N.D. Cal., filed March 16, 2009).
27

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                                                     -51 -
      COMPLAINT AND JuRY DEMAND
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     Case 4:07-cv-05944-JST Document
        Case3:13-cv-01173-EDL        2553-8Filed03/15/13
                               Document1      Filed 04/30/14 Pageof5768of 69
                                                           Page56



             221.    Plaintiffs' claims also have been tolled under the doctrine announced in American

 2    Pipe & Construction Co. v. Utah, 414 U.S. 538 (1974) and related authorities recognizing cross-

 3    jurisdictional tolling during the pendency of the putative class actions asserted against

 4    Defendants, which commenced as early as November 27, 2007.

 5    X.     FRAUDULENT CONCEALMENT

 6           222.    Plaintiffs had neither actual nor constructive knowledge of the facts constituting

 7    their claim for relief despite diligence in trying to discover the pertinent facts. Defendants and

 8    their co-conspirators engaged in a secret conspiracy that did not give rise to facts that would put

 9    Plaintiffs on inquiry notice that there was a conspiracy to fix the prices of CRTs.

10           223.    The affirmative acts ofthe Defendants alleged herein, including acts in

11    furtherance of the conspiracy, were wrongfully concealed and carried out in a manner that

12    precluded detection. As noted above, Defendants organized Glass Meetings to avoid detection,

13    conducted bilateral meetings in secret and agreed at Glass Meetings to orchestrate the giving of

14    pretextual reasons for their pricing actions and output restrictions. Defendants would coordinate

15    and exchange in advance the texts of the proposed communications with customers containing

16    these pretextual statements and would coordinate which co-conspirator would first communicate

17    these pretextual statements to customers.

18           224.    By its very nature, Defendants' price-fixing conspiracy was inherently self-

19    concealing.

20           225.    Plaintiffs could not have discovered the alleged contract, conspiracy or

21    combination at an earlier date by the exercise of reasonable diligence because of the deceptive

22    practices and techniques of secrecy employed by Defendants and their co-conspirators to avoid

23    detection of, and fraudulently conceal, their contract, conspiracy or combination. The contract,

24    conspiracy or combination as herein alleged was fraudulently concealed by Defendants by

25    various means and methods, including, but not limited to, secret meetings, surreptitious

26    communications between the Defendants by the use of the telephone or in-person meetings in

27    order to prevent the existence of written records, discussion on how to evade antitrust laws and

28
                                                     -52-
      COMPLAINT AND JURY DEMAND
     Case 4:07-cv-05944-JST Document
        Case3:13-cv-01173-EDL        2553-8Filed03/15/13
                               Document1      Filed 04/30/14 Pageof5868of 69
                                                           Page57



 1    concealing the existence and nature of their competitor pricing discussions from non-
 2    conspirators (including customers).

 3            226.   Participants at Glass Meetings were also told not to take minutes. Attending

 4    companies also reduced the number of their respective attendees to maintain secrecy.

 5            227.   Defendants also agreed at Glass Meetings and bilateral meetings to give

 6    pretextual reasons for price increases and output reductions to their customers.

 7           228.    As alleged above, in early 1999, despite declining production costs and the rapid

 8    entry of flat panel display products, the price oflarge-sized color CRTs actually rose. The price

 9    increase was allegedly based on increasing global demand for the products. In fact, this price

10    rise was the result of collusive conduct amongst Defendants, which was undisclosed at the time.

11           229.    As alleged above, despite increased competition from flat panel monitors, prices

12    for CRT monitors were stuck stubbornly at high price levels throughout 2001. This price

13    stabilization was purportedly due exclusively to a shortage of critical components such as glass.

14    This was a pretext used to cover up the conspiracy.

15           230.    In addition, when several CRT manufacturers, including Samsung, Philips, and

16    LG Electronics, increased the price of CRT Products in 2004, the price hike was blamed on a

17    shortage of glass shells used for manufacturing CRT monitors. In justifying this price increase, a

18    Deputy General Manager for an LG Electronics distributor in India stated, "[t]his shortage [of

19    glass shells] is a global phenomena and every company has to increase the prices of CRT

20    monitors in due course of time."

21           231.    Manufacturers such as LG Electronics periodically issued press statements falsely

22    asserting that CRT prices were being driven lower by intense competition.

23           232.    Plaintiffs are informed and believe, and thereon allege, that Defendants' purported

24    reasons for the price increases ofCRTs were materially false and misleading and made for the

25    purpose of concealing Defendants' anti-competitive scheme as alleged herein.

26           233.    As a result of Defendants' fraudulent concealment of their conspiracy, the running

27    of any statute of limitations has been tolled with respect to any claims that Plaintiffs have as a

28    result of the anticompetitive conduct alleged in this Complaint.
                                                     -53-
      COMPLAINT AND JURY DEMAND
     Case 4:07-cv-05944-JST Document
        Case3:13-cv-01173-EDL        2553-8Filed03/15/13
                               Document1      Filed 04/30/14 Pageof5968of 69
                                                           Page58



 1    XI.       CLAIM FOR VIOLATIONS

 2
                                                 First Claim for Relief
 3                            (Violation of Section 1 of the Sherman Act, 15 U.S.C. § 1)
 4
                234.     Plaintiffs incorporate by reference all the above allegations as if fully set forth
 5
      herein.
 6
                235.     From March I, 1995, the exact date being unknown to Plaintiffs and exclusively
 7
      within the knowledge of Defendants, Defendants and their co-conspirators entered into a
 8
      continuing contract, combination or conspiracy to unreasonably restrain trade and commerce in
 9
      violation of Section 1 ofthe Sherman Act (15 U.S.C. § 1) by artificially reducing or eliminating
10
      competition in the United States.
11
                236.     In particular, Defendants have combined and conspired to raise, fix, maintain or
12
      stabilize the prices of CRTs sold in the United States.
13
                237.     As a result of Defendants' and their co-conspirators' unlawful conduct, prices for
14
      CRTs were raised, fixed, maintained, and stabilized in the United States.
15
                238.     The contract, combination or conspiracy among Defendants and their co-
16
      conspirators consisted of a continuing agreement, understanding, and concerted action among
17
      Defendants and their co-conspirators.
18
                239.     For purposes of formulating and effectuating their contract, combination or
19
      conspiracy, Defendants and their co-conspirators did those things they contracted, combined, or
20
      conspired to do, including:
21
                         a.      Participating in meetings and conversations to discuss and agree upon the
22
      prices and supply of CRTs;
23
                         b.      Communicating in writing and orally to fix prices, allocate customers, and
24
      restrict output;
25
                         c.      Agreeing to manipulate prices and supply of CRTs sold in the United
26
      States, and to allocate customers of such products, in a manner that deprived direct purchasers of
27
      free and open competition;
28

      COMPLAINT AND JuRY DEMAND
     Case 4:07-cv-05944-JST Document
        Case3:13-cv-01173-EDL        2553-8Filed03/15/13
                               Document1      Filed 04/30/14 Pageof6068of 69
                                                           Page59



                       d.      Issuing price announcements and price quotations in accordance with the

 2    agreementsreached;

 3                     e.      Selling CRTs to customers in the United States at non-competitive prices;

 4                     f.      Exchanging competitive sensitive information in order to facilitate their

 5    conspiracy;

 6                     g.      Agreeing to maintain or lower production capacity; and

 7                     h.      Providing false statements to the public to explain increased prices for

 8    CRTs.

 9              240.   As a result of Defendants' unlawful conduct, Plaintiffs have been injured in their

10    businesses and property in that they have paid more for CRT Products than they otherwise would

11    have paid in the absence ofDefendants' unlawful conduct.

12
                                            Second Claim for Relief
13                                (Violation of the California Cartwright Act)
14
                241.   Plaintiffs incorporate by reference all the above allegations as if fully set forth
15
      herein.
16
                242.   During the Relevant Period, Plaintiffs, and their predecessor entities, conducted a
17
      substantial volume of business in California. In particular, Plaintiffs purchased CRT Products
18
      from Defendants and their co-conspirators in California by issuing purchase orders from
19
      California and receiving invoices on those purchases there. As a result of Plaintiffs presence in
20
      California and the substantial business they conducted in California, Plaintiffs are entitled to the
21
      protection of the laws of California.
22
                243.   In addition, Defendants LP Display, Samsung and Toshiba all maintained offices
23
      in California during the Relevant Period. Employees at Defendants' and co-conspirators'
24
      locations in California participated in meetings and engaged in bilateral communications in
25
      California and intended and did carry out Defendants' and their co-conspirators' anticompetitive
26
      agreement to fix the price of CRTs. Defendant Samsung SDI admitted in its plea agreement that
27
      acts in furtherance of the conspiracy were carried out in California. Defendants' and their co-
28
                                                       -55-
      COMPLAINT AND JURY DEMAND
     Case 4:07-cv-05944-JST Document
        Case3:13-cv-01173-EDL        2553-8Filed03/15/13
                               Document1      Filed 04/30/14 Pageof6168of 69
                                                           Page60



 1    conspirators' conduct within California thus injured Plaintiffs and their predecessor entities, both

 2    in California and throughout the United States.

 3               244.    Beginning at a time presently unknown to Plaintiffs, but at least as early as March

 4    1, 1995, and continuing thereafter at least up to and including at least December 2007,

 5    Defendants and their co-conspirators entered into and engaged in a continuing unlawful trust in

 6    restraint of the trade and commerce described above in violation of the Cartwright Act,

 7    California Business and Professional Code Section 16720.

 8               245.    Defendants have each acted in violation of Section 16720 to fix, raise, stabilize

 9    and maintain prices of, and allocate markets for, CRTs at supracompetitive levels. Defendants'

10    and their co-conspirators' conduct substantially affected California commerce.

11               246.    The aforesaid violations of Section 16720, California Business and Professional

12    Code, consisted, without limitation, of a continuing unlawful trust and concert of action among

13    Defendants and their co-conspirators, the substantial terms of which were to fix, raise, maintain

14    and stabilize the prices of, and to allocate markets for, CRTs.

15               24 7.   For the purpose of forming and effectuating the unlawful trust, Defendants and

16    their co-conspirators have done those things which they combined and conspired to do, including

17    but in no way limited to the acts, practices and course of conduct set forth above and the

18    following:

19                       a. to fix, raise, maintain and stabilize the price ofCRTs;

20                       b. to allocate markets for CRTs amongst themselves; and

21                       c. to allocate among themselves the production of CRTs.

22               248.    The combination and conspiracy alleged herein has had, inter alia, the following

23    effects:

24                       a. price competition in the sale of CRTs has been restrained, suppressed and/or

25               eliminated in the State of California;
26                       b. prices for CRTs sold by Defendants, their co-conspirators, and others have

27               been fixed, raised, maintained and stabilized at artificially high, non-competitive levels in

28               the State of California; and
                                                          -56-
      COMPLAINT AND JURY DEMAND
     Case 4:07-cv-05944-JST Document
        Case3:13-cv-01173-EDL        2553-8Filed03/15/13
                               Document1      Filed 04/30/14 Pageof6268of 69
                                                           Page61



                       c. those who purchased CRTs from Defendants, their co-conspirators, and others

 2              and CRT Products containing price-fixed CRTs from Defendants, their co-conspirators,

 3              and others have been deprived ofthe benefit of free and open competition.

4               249.   As a result of the alleged conduct of Defendants and their co-conspirators,

 5    Plaintiffs paid supracompetitive, artificially inflated prices for the CRTs they purchased during

6     the Relevant Period.

7               250.   As a direct and proximate result of Defendants' conduct, Plaintiffs have been

 8    injured in their business and property by paying more for CRT Products than they would have

9     paid in the absence of Defendants' combination and conspiracy. As a result of Defendants'

I0    violation of Section 16720 of the California Business and Professional Code, Plaintiffs are

11    entitled to treble damages and the costs of suit, including reasonable attorneys' fees, pursuant to

12    Section 16750(a) of the California Business and Professions Code.

13
                                            Third Claim for Relief
14                            (Violation of California Unfair Competition Law)
15
                251.   Plaintiffs incorporate by reference all the above allegations as if fully set forth
16
      herein.
17
                252.   During the Relevant Period, Plaintiffs, and their predecessor entities, conducted a
18
      substantial volume of business in California. In particular, Plaintiffs purchased CRT Products
19
      from Defendants and their co-conspirators in California by issuing purchase orders from
20
      California and receiving invoices on those purchases there. As a result of Plaintiffs presence in
21
      California and the substantial business they conducted in California, Plaintiffs are entitled to the
22
      protection of the laws of California.
23
                253.   During the Relevant Period, Defendants engaged in unfair competition in
24
      violation of California's Unfair Competition Law, California Business and Professional Code §
25
      17200 et seq.
26
                254.   Defendants committed acts of unfair competition, as defined by Section 17200, et
27
      seq., by engaging in a conspiracy to fix and stabilize the price of CRTs as described above.
28

      COMPLAINT AND JURY DEMAND
     Case 4:07-cv-05944-JST Document
        Case3:13-cv-01173-EDL        2553-8Filed03/15/13
                               Document1      Filed 04/30/14 Pageof6368of 69
                                                           Page62



                255.   The acts, omissions, misrepresentations, practices and non-disclosures of

 2    Defendants, as described above, constitute a common, continuous, and continuing course of

 3    conduct of unfair competition by means of unfair, unlawful and/or fraudulent business acts or

 4    practices with the meaning of Section 17200, et seq., including, but not limited to ( 1) a violation

 5    of Section 1 of the Sherman Act and (2) violation ofthe Cartwright Act.

 6              256.   Defendants' acts, omissions, misrepresentations, practices and non-disclosures are

 7    unfair, unconscionable, unlawful and/or fraudulent independently of whether they constitute a

 8    violation of the Sherman Act or Cartwright Act.

 9              257.   Defendants' acts or practices are fraudulent or deceptive within the meaning of

10    Section 17200, et seq.

11              258.   Defendants' conduct was carried out, effectuated, and perfected, at least in part,

12    within the state of California.

13              259.   By reason of the foregoing, Plaintiffs are entitled to full restitution and/or

14    disgorgement of all revenues, earnings, profits, compensation and benefits that may have been

15    obtained by Defendants as a result of such business acts and practices described above.

16
                                            Fourth Claim for Relief
17                                 (Violation of the New York Donnelly Act)
18
                260.   Plaintiffs incorporate by reference all the above allegations as if fully set forth
19
      herein.
20
                261.   During the Relevant Period, Plaintiffs and their affiliated entities conducted a
21
      substantial volume ofbusiness in New York. For example, Plaintiffs warehoused CRT Products
22
      in New York. As a result ofthe substantial business they conducted in New York, Plaintiffs are
23
      entitled to the protection ofthe laws ofNew York.
24
                262.   Beginning at a time presently unknown to Plaintiffs, but at least as early as March
25
      1, 1995, and continuing thereafter at least up to and including December 2007, Defendants and
26
      their co-conspirators entered into and engaged in a continuing unlawful trust in restraint of the
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                                                       -58-
     COMPLAINT AND JURY DEMAND
     Case 4:07-cv-05944-JST Document
        Case3:13-cv-01173-EDL        2553-8Filed03/15/13
                               Document1      Filed 04/30/14 Pageof6468of 69
                                                           Page63



 1    trade and commerce described above in violation ofthe Donnelly Act, New York General

 2    Business Law§§ 340 et seq.

 3            263.    Defendants' conspiracy restrained, suppressed and/or eliminated competition in

 4    the sale ofCRTs in New York and fixed, raised, maintained and stabilized the price ofCRTs in

 5    New York at artificially high, non-competitive levels.

6             264.   As a result, Defendants' conspiracy substantially affected New York commerce.

7             265.   As a direct and proximate result of Defendants' conduct, Plaintiffs have been

8     injured in their business and property by paying more for CRT Products purchased from

9     Defendants, their co-conspirators and others than they would have paid in the absence of

10    Defendants' combination and conspiracy, and are entitled to relief under New York General

11    Business Law§§ 340 et seq.
12            266.   As a result of Defendants' violation of Section 340 of the New York General

13    Business Law, Plaintiffs are entitled to treble damages and the costs of suit, including attorneys'

14    fees.
                                           Fifth Claim for Relief
15                           (Violation of New York Unfair Competition Law)
16
              267.   Plaintiffs incorporate and reallege, as though fully set forth herein, each and every
17
      allegation set forth in the preceding paragraphs of this Complaint.
18
              268.   Defendants agreed to, and did in fact, act in restraint of trade or commerce by
19
      affecting, fixing, controlling and/or maintaining, at artificial and non-competitive levels, the
20
      prices at which CRTs were sold, distributed or obtained in New York, and took efforts to conceal
21
      their agreements from Plaintiffs.
22
              269.   The conduct of Defendants described herein constitutes consumer-oriented
23
      deceptive acts or practices within the meaning ofN. Y. General Business Law § 349, which
24
      resulted in consumer injury and broad adverse impact on the public at large, and harmed the
25
      public interest of New York State in an honest marketplace in which economic activity is
26
      conducted in a competitive manner.
27

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                                                     -59-
      COMPLAINT AND JURY DEMAND
     Case 4:07-cv-05944-JST Document
        Case3:13-cv-01173-EDL        2553-8Filed03/15/13
                               Document1      Filed 04/30/14 Pageof6568of 69
                                                           Page64



                270.   Defendants' unlawful conduct had the following effects: (1) CRT price

 2    competition was restrained, suppressed and eliminated throughout New York; (2) CRT prices

 3    were raised, fixed, maintained and stabilized at artificially high levels throughout New York; (3)

 4    Plaintiffs were deprived of free and open competition; and (4) Plaintiffs paid supracompetitive,
 5    artificially inflated prices for CRT Products.

 6              271.   During the Relevant Period, Defendants' illegal conduct substantially affected
 7    New York commerce and consumers.

 8              272.   During the Relevant Period, each of the Defendants named herein, directly, or

 9    indirectly and through affiliates or subsidiaries or agents they dominated and controlled,

10    manufactured, sold and/or distributed CRT Products in New York.

11              273.   Plaintiffs seek treble damages for their injuries caused by these violations in an

12    amount to be determined at trial and are threatened with further injury.

13
                                           Sixth Claim for Relief
14                           (New Jersey Antitrust Act, N.J. Stat. § 56:9-1 et seq.)
15
                274.   Plaintiffs incorporate by reference all the above allegations as if fully set forth
16
      herein.
17
                275.   During the Relevant Period, Sharp Electronics resided in New Jersey, and
18
      Plaintiffs and their affiliated entities conducted a substantial volume of business in New Jersey.
19
      Sharp Electronics oversaw SMCA's CRT procurement activities. Once the CRTs were
20
      purchased, Sharp Electronics instructed SMCA and SEMA on the number of finished products
21
      that customers requested. As a result of Plaintiffs presence in New Jersey and the substantial
22
      business they conducted in New Jersey, Plaintiffs are entitled to the protection of the laws of
23
     New Jersey.
24
                276.   Beginning at a time presently unknown to Plaintiffs, but at least as early as March
25
      1, 1995, and continuing thereafter at least up to and including December 2007, Defendants and
26
      their co-conspirators entered into and engaged in a continuing unlawful trust in restraint of the
27

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                                                       -60-
      COMPLAINT AND JURY DEMAND
     Case 4:07-cv-05944-JST Document
        Case3:13-cv-01173-EDL        2553-8Filed03/15/13
                               Document1      Filed 04/30/14 Pageof6668of 69
                                                           Page65



 1    trade and commerce described above in violation of the New Jersey Antitrust Act, N.J. Stat.§

2     56:9-1 et seq.

 3              277.   Defendants' conspiracy restrained, suppressed and/or eliminated competition in

4     the sale ofCRTs in New Jersey and fixed, raised, maintained and stabilized CRTs in New Jersey

 5    at artificially high, non-competitive levels.

 6              278.   As a result, Defendants' conspiracy substantially affected New Jersey commerce.

 7              279.   As a direct and proximate result of Defendants' conduct, Plaintiffs have been

 8    injured in their business and property by paying more for CRT Products purchased from

 9    Defendants, their co-conspirators and others than they would have paid in the absence of

10    Defendants' combination and conspiracy, and are entitled to relief under N.J. Stat.§ 56:9-1 et

11    seq.

12              280.   By reason of the foregoing, Defendants have entered into agreements in restraint

13    oftrade in violation ofN.J. Stat.§ 56:9-1 et seq. Plaintiffs seek all forms ofreliefavailable

14    under N.J. Stat.§ 56:9-1 et seq.

15
                                          Seventh Claim for Relief
16                        {Violation of Tennessee Code Ann.§§ 47-258-101 et seq.)
17
                281.   Plaintiffs incorporate by reference all the above allegations as if fully set forth
18
      herein.
19
                282.   Defendants' and their co-conspirators' combinations or conspiracies had the
20
      following effects: (1) CRT price competition was restrained, suppressed, and eliminated
21
      throughout Tennessee; (2) CRT prices were raised, fixed, maintained and stabilized at artificially
22
      high levels throughout Tennessee; (3) Plaintiffs were deprived of free and open competition in
23
      Tennessee; and (4) Plaintiffs paid supracompetitive and artificially inflated prices for CRT
24
      Products in Tennessee.
25
                283.   During the Relevant Period, Plaintiffs purchased CRT Products in Tennessee,
26
      with purchase orders issuing from, and invoices being received, in Tennessee.
27

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                                                       - 61 -
      COMPLAINT AND JURY DEMAND
     Case 4:07-cv-05944-JST Document
        Case3:13-cv-01173-EDL        2553-8Filed03/15/13
                               Document1      Filed 04/30/14 Pageof6768of 69
                                                           Page66



              284.    During the Relevant Period, Defendants' and their co-conspirators' illegal

 2    conduct substantially affected Tennessee commerce.

 3            285.   As a direct and proximate result of Defendants' and their co-conspirators'

 4    unlawful conduct, Plaintiffs have been injured in their business and property and are threatened

 5    with further injury.

 6            286.   By reason of the foregoing, Defendants have entered into agreements in restraint

 7    oftrade in violation ofTennessee Code Ann.§§ 47-25-101 et seq. Plaintiffs seek all forms of

 8    relief available under Tennessee Code Ann.§§ 47-25-101 et seq.

 9    XII.   DAMAGES

10           287.    During the Relevant Period, Plaintiffs purchased CRT Products directly from

11    Defendants, or their subsidiaries, agents, and/or affiliates, and, by reason of the antitrust

12    violations herein alleged, paid more for such products than they would have paid in the absence

13    of such antitrust violations. During the Relevant Period, Plaintiffs also purchased CRT Products

14    indirectly from Defendants, or their subsidiaries, agents, and/or affiliates, and, by reason of the

15    antitrust violations herein alleged, paid more for such CRT Products than they would have paid

16    in the absence of such antitrust violations. As a result, Plaintiffs have sustained damages to their

17    business and property in an amount to be determined at trial.

18    XIII. PRAYER FOR RELIEF

19           WHEREFORE, Plaintiffs pray that the Court enter judgment on their behalf, adjudging

20    and decreeing that:

21           A.      Defendants engaged in a contract, combination, and conspiracy in violation of

22    Section 1 ofthe Sherman Act (15 U.S.C. § 1), the California Cartwright Act, the Unfair

23    Competition Law of California, the New York Donnelly Act, New Jersey Antitrust Act, New

24    York General Business Law§ 349, and Tennessee Code Ann.§§ 47-25-101 et seq., Plaintiffs

25    were injured in their business and property as a result of Defendants' violations;

26           B.      Plaintiffs shall recover damages sustained, as provided by federal and state

27    antitrust laws, and that a joint and several judgment in favor of Plaintiffs be entered against the

28    Defendants in an amount to be trebled in accordance with such laws;
                                                      -62-
      COMPLAINT AND JURY DEMAND
     Case 4:07-cv-05944-JST Document
        Case3:13-cv-01173-EDL        2553-8Filed03/15/13
                               Document1      Filed 04/30/14 Pageof6868of 69
                                                           Page67



 1           C.      Defendants, their subsidiaries, affiliates, joint ventures, successors, transferees,

 2    assignees and the respective officers, directors, partners, agents, and employees thereof and all

 3    other persons acting or claiming to act on their behalf be permanently enjoined and restrained

4     from continuing and maintaining the combination, conspiracy, or agreement alleged herein;

 5           D.      Plaintiffs shall be awarded pre-judgment and post-judgment interest, and that such

 6    interest be awarded at the highest legal rate from and after the date of service of the initial

7     Complaint in this action;

8            E.      Plaintiffs shall recover their costs of this suit, including reasonable attorneys' fees

 9    as provided by law; and

10           F.      Plaintiffs shall receive such other or further relief as may be just and proper.

11           Ill

12           Ill

13           Ill

14           Ill

15           Ill

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28           Ill

      COMPLAINT AND JURY DEMAND
     Case 4:07-cv-05944-JST Document
        Case3:13-cv-01173-EDL        2553-8Filed03/15/13
                               Document1      Filed 04/30/14 Pageof6968of 69
                                                           Page68



 1   XIV. JURY TRIAL DEMANDED
 2          Pursuant to Federal Rule of Civil Procedure 3 8(b), Plaintiffs demand a trial by jury of all

 3   of the claims asserted in this Complaint so triable.

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 5   Dated: March 15, 2013

 6
                                               Stephen E. Taylor (SBN 058452)
 7                                             Jonathan A. Patchen (SBN 23 7346)
                                               TAYLOR & COMPANY LAW OFFICES, LLP
 8                                             One Ferry Building, Suite 355
                                               San Francisco, California 94111
 9                                             Telephone: (415) 788-8200
                                               Facsimile: (415) 788-8208
10                                             Email: staylor@tcolaw.com
                                               Email: jpatchen@tcolaw.com
11

12                                             Kenneth A. Gallo (pro hac vice to be submitted)
                                               Joseph J. Simons (pro hac vice to be submitted)
13                                             Craig A. Benson (pro hac vice to be submitted)
                                               PAUL, WEISS, RIFKIND, WHARTON & GARRISON LLP
14                                             2001 K Street, NW
                                               Washington, DC 20006
15                                             Telephone: (202) 223-7356
                                               Facsimile: (202) 204-7356
16                                             Email: kgallo@paulweiss.com
                                               Email: j simons@paulweiss.com
17                                             Email: cbenson@paulweiss.com

18
                                           Attorneys for Plaintiffs
19

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                                                    -64-
     COMPLAINT AND JURY DEMAND
